Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 1 of 65




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 21-cv-01269-KLM

 RODNEY DOUGLAS EAVES,

        Plaintiff,

 v.

 JARED POLIS,
 DEAN WILLIAMS,
 TRAVIS TRANI, in his individual capacity, 1
 GYPSY KELSO,
 ANTHONY A. DECESARO,
 MARSHALL GRIFFITH,
 JERRY ROARK,
 DAVID HESTAND,
 JASON SMITH,
 STEVEN SALAZAR,
 CLARA CASEBOLT,
 LARRY COX,
 JUSTIN ARRASMITH,
 DERICK DOCKTER,
 LUKE HOLLAND,
 TIFFANY SALDANA,
 COLIN CARSON, and
 DONNY BRITTON, and
 ANDRE STANCIL, in his official capacity,

      Defendants.
 _____________________________________________________________________

                     ORDER ON MOTIONS TO DISMISS
 _____________________________________________________________________
 ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

        This matter comes before the Court on three motions: (1) The Governor=s Rule


        1 Pursuant to Fed. R. Civ. P. 25(d), Andre Stancil has been automatically inserted as a
 defendant in his official capacity as the current Deputy Director of CDOC. Travis Trani is no
 longer a CDOC employee and therefore remains in this case in his individual capacity only.

                                               -1-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 2 of 65




 12(b)(1) and (6) Motion to Dismiss [#73] (the AGovernor=s Motion@); 2 (2) the CDOC

 Defendants= Partial Motion to Dismiss Plaintiff=s Amended Complaint [Doc. 66]

 Pursuant to Rule 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure [#76]

 (the ACDOC Motion@); 3 and (3) the BCCF Defendants= Motion to Dismiss Plaintiff=s

 Amended Complaint [#79] (the ABCCF Motion@) 4 (collectively Athe Motions to Dismiss@).

 The Court has reviewed the Motions to Dismiss [#73, #76, #79], the Responses [#83,

 #90, #91], the Replies [#85, #94, #97], 5 the entire case file and the applicable law, and is

 sufficiently advised in the premises. For the reasons set forth below, the Motions to

 Dismiss are granted in part and denied in part.

                               I. Facts and Procedural History

        Plaintiff Rodney Douglas Eaves (“Plaintiff”), an inmate incarcerated in the Colorado

 Department of Corrections (ACDOC@), is proceeding pro se. 6 During the timeframe


         2 This Motion [#73] is filed on behalf of Defendant Jared Polis, the Governor of the State
 of Colorado (“the Governor”). Id. at 1. “[#73]” is an example of the convention the Court uses to
 identify the docket number assigned to a specific paper by the Court’s case management and
 electronic case filing system (CM/ECF). This convention is used throughout this Order, and the
 page numbers cited are to CM/ECF.

         3 The CDOC Defendants are Defendants Dean Williams (“Williams”), Travis Trani
 (“Trani”), Gypsy Kelso (“Kelso”), Anthony DeCesaro (“DeCesaro”), Marshall Griffith (“Griffith”),
 Jason Smith (“Smith”), and Andre Stancil (“Stancil”). Id. at 1.

        4 The BCCF Defendants are Jerry Roark (“Roark”), David Hestand (“Hestand”), Steven
 Salazar (“Salazar”), Clara Casebolt (“Casebolt”), Larry Cox (“Cox”), Justin Arrasmith
 (“Arrasmith”), Derick Dockter (“Dockter”), Luke Holland (“Holland”), Tiffany Saldana (“Saldana”),
 and Colin Carson (“Carson”).

        5  While Plaintiff filed a Surreply [#92] to the BCCF Motion [#79], the Surreply is not
 considered because Plaintiff did not seek leave to file it or show why the Surreply was needed.
 See Minute Order [#101].

        6 The pleadings of a pro se litigant “are to be construed liberally and held to a less
 stringent standard than formal pleadings drafted by lawyers. Ajaj v. United States, No. 15-cv-

                                                -2-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 3 of 65




 relevant to his Amended Complaint [#66], Plaintiff was housed at the Bent County

 Correctional Facility (“BCCF”), a private prison operated by CoreCivic (“CC”) pursuant to

 a contract with the CDOC. See BCCF Mot. [#79] at 2.

        Plaintiff filed his initial Complaint [#1] on May 10, 2021, alleging that Defendants

 engaged in practices pursuant to policy which substantially burdened Plaintiff=s religion.

 Plaintiff thus brought claims pursuant to 42 U.S.C. ' 1983 under the First Amendment

 Free Exercise Clause and the Equal Protection Clause, and claims under the Religious

 Land Use and Institutionalized Persons Act (ARLUIPA@), 42 U.S.C. 2000cc. Id.

        On March 15, 2022, the Court issued an Order [#55] granting Motions to Dismiss

 [#22, #23, #45] as to the initial Complaint [#1]. Id. at 26-27. While some claims were

 dismissed with prejudice, Plaintiff was permitted to amend the complaint as to the claims

 that were dismissed without prejudice. Id. at 27. Plaintiff filed an Amended Complaint

 [#66] on May 12, 2022. Plaintiff has realleged the claims which were dismissed without

 prejudice, and asserts new claims. See, e.g., id. at 7, 23

        The Amended Complaint [#66] generally alleges that while incarcerated at BCCF,

 Plaintiff (1) was denied his “right to possess sacred items for personal religious practice”

 (id. ¶ 7); (2) was “forced to pay for firewood and herbs” for his religious ceremonies while

 federal funds are used to provide materials for other faiths (id. ¶ ¶ 95, 102); (3) was denied

 the right to spiritually cleanse (“Wazila”) his cell or embellish his headband and medicine


 02849-RM-KLM, 2020 WL 5758521, at *2 (D. Colo. Sept. 28, 2020) (citing Haines v. Kerner, 404
 U.S. 519, 520-21 (1972)). However, the Court may not “supply additional factual allegations to
 round out a plaintiff’s complaint or construct a legal theory on [his] behalf.” Whitney v. New
 Mexico, 113 F.3d 1170, 1173-74 (10th Cir. 1997) (citing Hall v. Bellmon, 935 F.2d 1106, 1110
 (10th Cir. 1991)).

                                              -3-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 4 of 65




 bag with beads and stones (id. ¶¶ 105, 115); (4) purchased firewood for his religious

 ceremonies that was given to other faiths or was taken by BCCF staff (id. ¶¶ 127-28, 134-

 38); (5) was prevented from practicing the “Sac and Fox” way of life because of being

 denied access to the facilities’ faith grounds for ceremonial purposes (id. ¶¶ 149-50); and

 (7) was retaliated against for filing grievances and the complaint in this action (id. ¶ 166).

 These are generally the same issues that were asserted in the initial Complaint. Plaintiff

 has, however, added significantly more facts to support his claim as well as asserted new

 claims, as discussed previously. The facts are discussed in more detail in Section III,

 infra. Plaintiff seeks nominal, compensatory, and punitive damages, as well as injunctive

 and declaratory relief. Am. Compl. [#60] at 31-33.

        The Governor’s Motion [#73] and the BCCF Motion [#79] seek to dismiss the

 Amended Complaint [#66] in its entirety. 7 The CDOC Motion [#76] seeks to dismiss all

 claims except Plaintiff’s official capacity claims brought under RLUIPA. Id. at 3.            The

 Motions to Dismiss often make arguments that are not asserted in the other Motions. To

 that extent, the Court attempts to refer to the specific Motion at issue in addressing the

 arguments. However, since the Governor’s Motion [#73] incorporates the arguments in

 the CDOC Motion [#76], and the CDOC and BCCF Motions [#76, #79] often both argue

 that certain claims should be dismissed, this is not always possible. The Court now turns

 to the merits of the Motions to Dismiss.


        7    The Governor’s Motion [#73] addresses only one issue – whether under Rule 12(b)(1)
 the Eleventh Amendment bars Plaintiff’s federal constitutional claims for equitable relief against
 the Governor. Id. at 1, 5-7. However, the Motion [#73] argues that even if the Court has
 jurisdiction over some or all of the claims, the claims still must be dismissed for the reasons set
 forth in the CDOC Motion [#76], which the Governor joins in and adopts. Id. at 1, 7.

                                                -4-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 5 of 65




                                   II. Standard of Review

 A.     Federal Rule of Civil Procedure 12(b)(1)

        Rule 12(b)(1) provides for a claim to be dismissed where the court lacks subject

 matter jurisdiction. Kenney v. Helix TCS, Inc., 284 F. Supp. 3d 1186, 1188 (D. Colo.

 2018), aff’d, 939 F.3d 1106 (10th Cir. 2019).        “Federal courts are courts of limited

 jurisdiction and, as such, must have a statutory basis to exercise jurisdiction.” Montoya

 v. Chao, 296 F.3d 952, 955 (10th Cir. 2002). The party asserting jurisdiction has the

 burden of establishing subject matter jurisdiction. F & S Const. Co. v. Jensen, 337 F.2d

 160, 161 (10th Cir. 1964). A challenge to the subject matter jurisdiction of a complaint

 can take the form of a facial attack or a factual attack. Holt v. United States, 46 F.3d 1000,

 1002 (10th Cir. 1995). A facial attack “questions the sufficiency of the complaint” whereas

 a factual attack “challenge[s] the facts upon which subject matter jurisdiction depends.”

 Id. at 1002-03 (citing Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th Cir.

 1990)). When reviewing a facial attack on a complaint, as here, the Court accepts the

 allegations of the complaint as true. Id. at 1002.

 B.     Federal Rule of Civil Procedure 12(b)(6)

        A motion to dismiss pursuant to Rule 12(b)(6) may be granted if the complaint fails

 “to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive

 a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

 to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (1955)). A claim

 is facially plausible when the factual content of the complaint enables the Court “to draw


                                              -5-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 6 of 65




 the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

 Because plausibility is determined by the factual content, “[t]hreadbare recitals of the

 elements of a cause of action, supported by mere conclusory statements, do not suffice.”

 Id. In determining whether a complaint is facially plausible, the Court does not “weigh

 potential evidence that the parties might present at trial,” but assesses only the plaintiff’s

 complaint Miller v. Glanz, 948 F.2d 1562, 1565 (10th Cir.1991). Facial plausibility need

 not rise to the level of a probability but requires “more than a sheer possibility that a

 defendant has acted unlawfully.” Iqbal, 556 U.S. at 678. “

                                          III. Analysis
 A.     The Eleventh Immunity and the Official Capacity Claims

        1.      Official Capacity Claims against the CDOC Defendants and the
                Governor for Monetary Damages

        Plaintiff has sued Defendants in both their individual and official capacities. Am.

 Compl. [#66] at 2-6. The CDOC Defendants argue, and the Court agrees, that the official

 capacity claims against them should be dismissed to the extent Plaintiff seeks monetary

 damages. See CDOC Mot. [#76] at 10. This finding also applies to the Governor. 8 Under

 the Eleventh Amendment, a state is not subject to suit for damages by its own citizens in

 federal court absent a waiver. Kentucky v. Graham, 473 U.S. 159, 169-70 (1985);

 Edelman v. Jordan, 415 U.S. 651, 662-63 (1974). Absent waiver by the state or valid

 congressional override, the Eleventh Amendment thus “bars a suit brought in federal court

 by the citizens of a state against the state or its agencies, and applies ‘whether the relief



       8 The Court addresses in Section III.A.3, infra, the official capacity claims as to the BCCF
 Defendants.

                                                -6-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 7 of 65




 sought is legal or equitable.’” Johns v. Stewart, 57 F.3d 1544, 1552 (10th Cir. 1995)

 (quotation omitted). The Eleventh Amendment “confers total immunity from suit, not

 merely a defense to liability[,”] Ambus v. Granit Bd. of Educ., 995 F.2d 992, 994 (10th Cir.

 1993), and applies to § 1983 claims. Quern v. Jordan, 440 U.S. 332, 345 (1979).

        The State of Colorado’s immunity under the Eleventh Amendment also extends to

 state employees acting in their official capacities. “Such suits are equivalent to suits

 against a public entity and are barred by the Eleventh Amendment.” Will v. Mich. Dep’t

 of State Police, 491 U.S. 58, 71 (1989).

        Based on the foregoing, the CDOC Motion [#76] is granted as to this issue, and

 the official capacity claims for monetary damages against the CDOC Defendants and the

 Governor under 42 U.S.C. § 1983 are barred under the Eleventh Amendment.

 Accordingly, these claims are dismissed without prejudice for lack of jurisdiction. See

 Shue v. Lampert, 580 F. App’x 642, 644 (10th Cir. 2014).

        2.     Monetary Damages Under RLUIPA

        Unlike the claims asserted under § 1983, the CDOC Defendants assert, and the

 Court agrees, that Plaintiff’s claims under RLUIPA must be dismissed to the extent he

 seeks relief against Defendants in their individual capacities for damages, because such

 relief is unavailable under RLUIPA. See CDOC Mot. [#76] at 11. The Tenth Circuit has

 made clear that “[t]here is no cause of action under RLUIPA for individual-capacity

 claims." Stewart v. Beach, 701 F.3d 1322, 1335 (10th Cir. 2012). Plaintiff concedes this

 point. Resp. CDOC Mot. [#90] at 8. Accordingly, to the extent Plaintiff seeks monetary

 damages under RLUIPA against any of the Defendants in their individual capacity, these


                                             -7-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 8 of 65




 claims are dismissed with prejudice. Hamlin v. Smith, No. 07-cv-01058-EWN-KMT,

 2008 WL 4210795, at *6 (D. Colo. Sep. 10, 2008). The CDOC Motion [#76] is granted

 as to this issue. Plaintiff’s claims under RLUIPA “are limited to official capacity claims for

 [prospective] equitable relief “ Pfeil v. Lampert, 603 F. App’x 665, 668 (10th Cir. 2015).

        3.     Whether the BCCF Defendants Can Be Sued in Their Official
               Capacities under 42 U.S.C. § 1983

    The BCCF Defendants assert that they cannot be sued in their official capacities

 because they do not have such capacities under 42 U.S.C. § 1983 as private employees

 of CC. BCCF Mot. [#79] at 2, 4-5. While Plaintiff conceded this issue (Response to BCCF

 Motion [#83] at 1), the Court disagrees with the BCCF Defendants’ contention. The BCCF

 Defendants did not cite the applicable law or adequately brief this issue. The Tenth Circuit

 and cases from this Court have made clear that while CC is a private corporation, it can

 be sued in its official capacity under § 1983. Smedley v. Corr. Corp. of Am., 175 F. App’x

 943, 946 (10th Cir. 2005) (holding that “[w]hile it is quite clear that Monell itself applied to

 municipal governments and not private entities acting under color of state law, it is now

 well-settled that Monell also extends to private defendants sued under § 1983[,]” including

 Correctional Corporation of America (“CCA”) (quotation omitted); 9 see Monell v. Dep’t of

 Social Servs.; 436 U.S. 658 (1978). For a private defendant such as CC to be liable under

 § 1983 for the tortious acts of its employees, Plaintiff must show that CC “directly caused

 the constitutional violation by instituting an ‘official municipal policy of some nature,’ . . .

 that was the ‘direct cause’ or the ‘moving force’ behind the constitutional violations.”


        9 CCA is the prior name of CC. BCCF Mot. [#79] at 3.


                                               -8-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 9 of 65




 Smedley, 175 F. App’x at 946; see also Mohammad v. Core Civic Inc., No. 18-cv-00772-

 WJM-MEH, 2019 WL 4695822, at *5 (D. Colo. Sep. 26, 2019); Hockaday v. Core Civic,

 No. 18-cv-00396-GPG, 2018 WL 10207996, at *1-2 (D. Colo. Feb. 27. 2018). 10

    While the BCCF Motion [#79] argues that Plaintiff is relying only on CDOC policies

 and not CC policies, see id. at 4, it does not cite the applicable law as discussed above

 or explain how it applies to the BCCF Defendants. Moreover, the BCCF Motion [#76]

 does not address Plaintiff’s allegation that CC develops its own policies, his citation to a

 policy of CC (1-1BB), and his allegations that the BCCF Defendants should have created

 a facility-wide policy that would address his claims that he was not permitted to practice

 his religion. See, e.g., Am. Compl. [#66] at 7-8, 11, 14. Plaintiff was therefore not given

 the opportunity to address whether his allegations are sufficient to establish liability under

 Monell against BCCF or its agents. Accordingly, the Court finds that resolution of whether

 the official capacity claims against the BCCF Defendants should be dismissed is

 premature, and the BCCF Motion [#79] is denied as to this issue. 11


          10 The Court finds the cases cited by the BCCF Defendants to be unpersuasive.
 Defendants rely on a footnote in the unpublished Tenth Circuit case of Jones v. Barry, 33 F. App'x
 967 972 n. 5 (10th Cir. 2002). This footnote was relied on by the other two unpublished cases
 from the Western District of Oklahoma cited by the BCCF Defendants. BCCF Mot. [#79] at 4-5.
 The Jones decision noted that the defendants had informed the court, with no objection by the
 plaintiff, that the prison at issue was private and operated by CCA. 33 F. App’x at 972 n. 5. As a
 result, the Tenth Circuit stated that the CCA Defendants were not state actors and did not have
 an “official capacity” for purposes of the Eleventh Amendment. Id. Not only was there no
 explanation or authority cited for that holding, this Court notes that the prison operated by CCA in
 Jones was not under contract with any state entity, but with the District of Columbia and the United
 States Marshal Service. Id. at 969. With that backdrop, the ruling makes sense. Here, by
 contrast, CC contracted with the CDOC, a state agency. See BCCF Mot. [#79] at 3. Accordingly,
 the Court finds the Jones case to be distinguishable.

        11 The Court additionally notes that the BCCF Defendants did not address the related
 issue of whether the RLUIPA official capacity claims should be dismissed against them, which is

                                                 -9-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 10 of 65




               4.      Claims for Equitable Relief Against the Governor

        The Governor asserts that the Eleventh Amendment bars Plaintiff’s federal

 constitutional claims for equitable relief. Governor’s Mot. [#73] at 5-7. The Governor

 reiterates that the Eleventh Amendment is a jurisdictional bar that precludes unconsented

 suits in federal court against a state and arms of the state. Id. at 5. The Governor is,

 undisputedly, an arm of the state. Id. The Governor acknowledges, however, that the

 Supreme Court in Ex parte Young, 209 U.S. 123 (1908), created an exception to this

 jurisdictional bar which permits “suits against state officials seeking to enjoin alleged

 ongoing violations of federal law.” Governor’s Mot. [#73] at 5 (citing Peterson v. Martinez,

 707 F.3d 1197, 1205 (10th Cir. 2013)). However, the Governor argues that this exception

 does not apply in this case because he has no duties to manage the day-to-day

 operations of BCCF. Id. at 6 (citing id.).

        Turning to the analysis, when a state official is named as “a party defendant in a

 suit to enjoin the enforcement of an act alleged to be unconstitutional, . . . such officer

 must have some connection with the enforcement of the act, or else it is merely making

 him a party as a representative of the state, and thereby attempting to make the state a

 party.” Peterson, 707 F.3d at 1205. Thus, to overcome Eleventh Amendment immunity,

 the state official who the plaintiff seeks to enjoin must have “a particular duty to enforce”

 a statute in question and “a demonstrated willingness to exercise that duty.” Id. In other


 significant given that RLUIPA does not authorize claims against Defendants in their individual
 capacity as discussed in the previous section. Given the fact that this issue has not been raised
 or briefed, the Court does not address it. See, however, Woodstock v. Shaffer, No. 15-cv-00041-
 REB-KMT, 2016 WL 8727190, at *2-3 (D. Colo. Feb. 5, 2016), R & R adopted, 169 F. Supp. 3d
 1169 (D. Colo. 2016).

                                               -10-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 11 of 65




 words, the state official must have some connection with the enforcement of the acts at

 issue. Finstuen v. Crutcher, 496 F.3d 1139, 1151 (10th Cir. 2007).

        Here, while the Governor asserts that Plaintiff has failed to show a connection

 between the Governor and the management or operations of the BCCF, the Court

 disagrees. Plaintiff argues that his requests for policy changes were denied by the

 Governor and Defendants Williams and Trani, and that these Defendants then developed

 new policies that violated his right to exercise his religion. See Resp. Governor’s Mot.

 [#91] at 5; see also Am. Compl. [#37] at 22 (describing the relevant policies that the

 Governor created and how they denied Plaintiff the right to practice his faith). Plaintiff

 further cites a case from this Court in support of his argument that the Governor has the

 requisite connection to the operations of the BCCF. Resp. Governor’s Mot. [#91] at 5-6

 (citing Harris v. Polis, No. 20-cv-02999-CMA-STV, 2021 WL 3024664 (D. Colo. June 23),

 R. & R. Adopted, 2021 WL 3021466 (July 16, 2021).

        In Harris, an inmate brought suit against the Governor and others under § 1983

 asserting various constitutional violations as a result of restrictions imposed in response

 to the COVID-19 pandemic. 2021 WL 3021466, at *11. Harris rejected the very argument

 at issue made here that the Governor is not a proper party under the Eleventh

 Amendment and Ex Parte Young, finding that under the Colorado Constitution, “‘when

 [the defendant] is an administrative agency, or the executive branch of government, or

 even the state itself, the Governor, in his official capacity, is a proper defendant because

 he is the state's chief executive.’” Id. at *3 (quoting Colo. Const. art. IV § 2; Ainscough v.




                                             -11-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 12 of 65




 Owens, 90 P.2d 851, 858 (Colo. 2004)). Thus, “‘[f]or litigation purposes, the Governor is

 the embodiment of the state.’” Id. (quotation omitted).

        In further support of its holding, Harris stated that “[c]ourts in this district have

 determined that because the Governor ‘has final authority to order the executive directors

 of all state agencies to commence or cease any action on behalf of the state,’ he is a

 proper party to this type of action.” 2021 WL 3021466, at *11 (quoting Sportsmen’s

 Wildlife Def. Fund v. U.S. Dep’t of Interior, 946 F. Supp. 1510, 1515 (D. Colo. 1986);

 Willdgrass Oil and Gas Committee v. Colorado, 447 F. Supp. 3d 1051, 1061-62 (D. Colo.

 2020)). Harris further noted that “the Colorado Supreme Court recently reaffirmed this

 longstanding precedent, holding that ‘[t]he CDOC is an executive agency directly within

 the Governor's control [and] the Governor remains one of the proper defendants for the

 claims asserted.’”   Id. (quoting Raven v. Polis, 479 P.3d 918, 921-22 (Colo. 2021)

 (“[B]ecause he is the state’s supreme executive, with ultimate authority over the executive

 agencies under his control, the Governor is an appropriate defendant in an action that

 seeks to enjoin or mandate enforcement of a statute, regulation, ordinance, or policy.”)).

        While the Governor urges the Court not to follow Harris or Raven, arguing that

 Peterson is the controlling law (Reply [#94] at 2), the Court rejects this argument. Unlike

 Peterson, which did not address the issue before the Court about the Governor’s authority

 over prisons within the CDOC, the Harris court did address this issue and supported its

 decision with guidance from the Colorado Supreme Court as well as other decisions of

 this Court. Accordingly, the Court finds Harris and the authority cited therein persuasive

 and adopts their rationale.


                                            -12-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 13 of 65




        The Governor’s Motion [#73] is thus denied as to the argument that the Eleventh

 Amendment bars the equitable claims against the Governor.

 B.   Mootness of Issues

        The CDOC Defendants argue that the claims regarding Plaintiff’s access to the

 faith grounds for ceremonial purposes and the wearing of religious headwear (eagle

 feathers) are moot. CDOC Mot. [#76] at 5-7. The Court notes as to that issue that Article

 III of the United States Constitution requires that a “justiciable case or controversy” remain

 present at all stages of litigation. United Sates v. Juvenile Male, 564 U.S. 932, 936

 (2011)). A court lacks subject matter jurisdiction if a cause of action is moot . Rio Grande

 Silvery Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1109 (10th Cir. 2010). Thus,

 “[u]nder the constitutional mootness doctrine, the suit must present a real and substantial

 controversy with respect to which specific relief may be fashioned.” Fletcher v. United

 States, 116 F.3d 1315, 1321 (10th Cir. 1997). A claim may become moot at any point in

 the controversy and deprive the Court of authority to decide questions which had

 previously been at issue. Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477-78 (1990). A

 claim is moot when “the controversy is no longer live and ongoing.” Green v. Branson,

 108 F.3d 1296, 1299 (10th Cir. 1997).

        If a plaintiff requests injunctive relief, the plaintiff “must show an ongoing, personal

 stake in the outcome of the controversy, a likelihood of substantial and immediate

 irreparable injury, and the inadequacy of remedies at law.” Rezaq v. Nally, 677 F.3d

 1001, 1008 (10th Cir. 2012). In other words, the plaintiff must show a personal continued

 susceptibility to injury that is reasonably certain. Jordon v. Sosa, 654 F.3d 1012, 1024


                                              -13-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 14 of 65




 (10th Cir. 2011). If the plaintiff cannot show more than the mere possibility of a recurrence

 of the complained of conduct, the case ceases to be a real and live controversy. Rio

 Grande Silvery Minnow, 601 F.3d at 1117.

        Here, as to the faith grounds, the CDOC Defendants note that Plaintiff’s prayer for

 relief requests an order requiring Defendants to “develop a plan to allow Mr. Eaves access

 to the faith grounds at least once a week even during lock downs or similar restrictions[.]”

 CDOC Mot. [#76] at 6 (citing Am. Compl. [#66] at 31). Plaintiff also requests the Court to

 “[d]eclare the Defendants’ duties with respect to these rights.” Id. (citing id.) The CDOC

 Defendants aver, however, that Plaintiff does not allege that he is currently restricted from

 accessing the faith grounds in any way. Id. (citing Am Compl. [#66] at 21-22, ¶¶ 149,

 162) (alleging he was last unable to access faith grounds during a COVID lock down in

 January 2022 and his religious exercise was restricted between March 2020 and March

 2022). The Court grants in part and denies in part the CDOC Motion [#76] based on

 this argument.

        First, the Court agrees with the CDOC Defendants that to the extent Plaintiff is

 asserting claims related to the restriction of access to the faith grounds during COVID-19

 (see, e.g., Amended Complaint [#66] at 21-22), these allegations are moot. These same

 allegations were dismissed as moot in the Court’s Order [#55] on the prior Motions to

 Dismiss (id. at 5-6), and the Court reiterates this ruling in connection with the current

 Motions to Dismiss. Accordingly, the CDOC Motion [#76] is granted as to this issue.

        However, the Court rejects the mootness argument to the extent it asserts that

 Plaintiff does not allege that he is currently restricted from access to the faith grounds.


                                             -14-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 15 of 65




 Plaintiff has alleged that even after the COVID-19 restrictions were lifted, he was denied

 access to the faith grounds by Defendants Hestand, Casebolt, and others. Am. Compl.

 [#66] at 22-29. In fact, Plaintiff alleges that he has been denied that right “for 24 months

 or a total loss of 104 ceremonies.” Id. at 22, ¶ 163. The Court thus construes the

 Amended Complaint [#66] as alleging that Plaintiff is still restricted from accessing the

 faith grounds, and the CDOC Motion [#76] arguing that this claim is moot is denied as to

 this issue.

        As to Plaintiff’s ability to wear his religious head wear, the CDOC Defendants note

 Plaintiff’s allegation that AR 800-01(IV)(R)(8) required all religious head wear to be

 covered by a baseball or stocking cap and, as a result, Plaintiff was not able to wear his

 eagle feather head wear. CDOC Mot. [#76] at 6-7 (citing Am. Compl. [#66] at 14, ¶ 59).

 Defendants state, however, that Plaintiff admits that the above AR now allows inmates to

 wear religious head wear without wearing a cap. Id. (citing id. at 29, ¶ 229). Despite this

 admission, the Court finds that the claim regarding Plaintiff’s head wear is not moot.

        Thus, Plaintiff states in his Response [#90] to the CDOC Motion [#76] that he

 asserts claims related to his headwear (1) because other inmates are permitted to wear

 their religious head wear at all times while Plaintiff is only permitted to wear his head wear

 in his cell or at religious ceremonies (Amended Complaint [#66] at 14, ¶ 72), and (2)

 Plaintiff was retaliated against for filing grievances and a lawsuit by being told if he wore

 his head wear it could be confiscated (id. at 66, ¶¶ 229-36). The Court finds from this that

 Plaintiff has averred that the actions of Defendants in relation to his religious head wear,

 which Plaintiff avers violate his constitutional rights, are “live and ongoing.” Green, 108


                                             -15-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 16 of 65




 F.3d at 1299. Hence, Plaintiff’s claims related to his religious head wear are not moot,

 and the CDOC Motion [#76] is also denied as to this issue.

        Based on the foregoing, the mootness argument in the CDOC Motion [#76] is

 granted as to the alleged lack of access to the faith grounds during the COVID-19

 restrictions, but denied as to the remaining arguments.

 C.     Other Preliminary Matters

        1.     Damages for Emotional Distress Under the Prison Litigation Reform
               Act (“PLRA”)

        The CDOC Defendants next argue that Plaintiff’s claims for emotional distress are

 barred under the PRLA because Plaintiff has not alleged a physical injury. CDOC Mot.

 [#76] at 11-12. The PLRA prohibits a prisoner confined in a correctional facility from

 bringing a federal civil action “for mental or emotional injury suffered while in custody

 without a prior showing of physical injury.” Id. at 11 (citing 42 U.S.C. § 1997e(e)).

        Here, the CDOC Motion [#76] asserts that Plaintiff claims no actual physical injury,

 but alleges that he is “constantly depressed and stressed without being able to pray in

 my language. This brings on both physical and spiritual harm as some refer to as bad

 karma.” Id. at 11-12 (citing Am. Compl. [#66] at 9, ¶ 23). In his Response [#90], Plaintiff

 points to his allegation that “[b]ecause [he] could not cleanse [his] spirit or ask

 Ketchemanetowa for protection, [he] contracted COVID-19 and got really sick” and “no

 longer ha[s] a sense of smell.” Id. at 9 (quoting Am. Compl. [#66] at 23, ¶ 164). Plaintiff

 further alleges that he “permanently lost this sense as punishment from the spirts. . . .”

 Id. Plaintiff thus asks the Court to find for purposes of the Motion [#76] that he has



                                            -16-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 17 of 65




 plausibly alleged a physical injury, and argues that this issue is for the trier of fact to

 decide because the Court and Defendants cannot “decide the validity” of his belief.” Id.

        In their Reply [#97], the CDOC Defendants argue that the Court should reject

 Plaintiff’s argument as implausible and conclusory. Id. at 4-5. First, Defendants argue

 that “the assertion that divine retribution is the cause of his COVID-19 is not plausible,

 because there is a much more likely explanation – i.e., there was a highly contagious

 respiratory virus circulating in the world, and especially in prisons.” Id. at 4. Second,

 Defendants argue that Plaintiff’s attribution of COVID-19 to his alleged religious issues is

 purely conclusory in the absence of any detailed factual allegations from which this Court

 could infer that similar issues are likely to cause illnesses in others. Id.

        Turning to the analysis, neither party has provided any legal authority relevant to

 the issues raised by Plaintiff. While Defendants cite cases that address injuries resulting

 from emotional distress (CDOC Motion [#76] at 5 n. 2), those cases are inapplicable to

 Plaintiff’s alleged loss of smell from COVID-19. The Court also rejects the argument in

 the CDOC Defendants’ Reply [#97] that Plaintiff’s allegations are conclusory because

 they do not state facts from which this Court could infer that similar issues are likely to

 cause illnesses in others. Id at 4. That is not a requirement in order to satisfy the physical

 injury component of the applicable legal test. The Court finds that the loss of a sense of

 smell may constitute a physical injury within the meaning of the PLRA, which Defendants

 did not address or dispute. See Clifton v. Eubank, 418 F. Supp. 2d 1243, 1245 (D. Colo.

 2013) (stating that the term “physical injury” is not defined under the PLRA, and that

 “[a]ppeal courts have held that although a de minimis injury does not satisfy the PLRA’s


                                              -17-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 18 of 65




 physical injury requirement, an injury need not be significant to satisfy the statutory

 requirement.)

        Furthermore, the Court agrees with Plaintiff that it cannot decide what his religious

 beliefs are, or whether those beliefs are plausible or supported under the Native American

 faith that he practices. See Kay v. Bemis, 500 F.3d 1214, 1219 (10th Cir. 2007) (“The

 inquiry into the sincerity of a free-exercise plaintiff's religious beliefs is almost exclusively

 a credibility assessment, . . . and therefore the issue of sincerity is rarely to be determined

 on summary judgment,” let alone a motion to dismiss.); see also Yellowbear v. Lampert,

 741 F.3d 48, 54 (10th Cir. 2014) (stating that while the court “may ask whether a claimant

 truly holds a religious belief isn't to suggest we may decide whether the claimant's

 religious belief is true. After all, ‘[f]aith means belief in something concerning which doubt

 is still theoretically possible’”). While it is certainly plausible, and most likely probable,

 that Plaintiff contracted COVID-19 from his prison surroundings, the Court cannot

 categorically rule out or find implausible Plaintiff’s belief that he contracted the illness as

 punishment from the spirits for not being able to practice his religion. This is an issue to

 be decided either on summary judgment or by the trier of fact, not on a motion to dismiss.

        Based on the foregoing, the CDOC Motion [#76] is denied as to the argument that

 Plaintiff’s claims for emotional distress are barred under the PRLA.

        2.       Joint and Several Liability

        The CDOC Motion [#76] next argues that Plaintiff’s requests for “joint and several”

 liability should be dismissed. Id. at 12. The Court agrees. Joint and several liability is a

 matter of state tort law, and Colorado has abolished such liability for personal cases,


                                               -18-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 19 of 65




 except in cases of conspiracy. See Slack v. Farmers Ins. Exchange, 5 P.3d 280, 284

 (Colo. 2000); Colo. Rev. Stat. § 13-21-111.5. The Amended Complaint [#66] does not

 contain any state tort law claims, and joint and several liability under state law is not

 applicable. Accordingly, the CDOC Motion [#76] is granted as to this issue, and Plaintiffs’

 request for joint and several liability is dismissed.

        3.     Whether the BCCF Defendants are Necessary Defendants

        The BCCF Defendants argue that that they are not necessary parties to this lawsuit

 and should be dismissed because Plaintiff can achieve the requested relief, i.e.,

 mandatory injunctive relief, from the CDOC Defendants. BCCF Mot. [#79] at 5. Thus, it

 is argued that the conduct Plaintiff seeks to enjoin relates to the policies of CDOC, not

 BCCF, and that if BCCF is directed by CDOC to provide Plaintiff with certain personal

 religious items pursuant to any order from this Court, the BCCF Defendants will do so.

 Id. The BCCF Defendants further contend that they do not have the authority to augment

 CDOC policy absent CDOC approval or Court order. Id. at 6-7. In addition, the BCCF

 Defendants assert that because Plaintiff has not made a claim for monetary damages,

 the absence of BCCF Defendants would not impede the Court from granting him the

 complete injunctive relief requested in his Amended Complaint. Id. at 7.

        The Court denies the BCCF Motion [#79] as to this issue. As Plaintiff notes, he is

 seeking monetary damages in the form of nominal, compensatory, and punitive damages.

 Resp. BCCF Mot. [#83] at 1; see Am. Compl. [#66] at 31-33.         The BCCF Defendants

 may be liable for such damages under § 1983 for their personal participation in the alleged




                                             -19-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 20 of 65




 violations of Plaintiff’s constitutional rights.     12
                                                           Accordingly, regardless of whether

 injunctive relief could be effected through the CDOC Defendants, the BCCF Defendants

 are necessary parties to this case.

 D.     The Merits of the Claims and Plaintiff’s Requests for Relief

        1.     The First Amendment Free Exercise and RLUIPA Claims

               a.      The Legal Standard

        To allege a constitutional violation based on a free exercise claim, a prisoner-

 plaintiff must survive a two-step inquiry. Kay, 500 F.3d at 1218. First, the plaintiff “must

 show that a prison regulation ‘substantially burdened . . . sincerely-held religious beliefs.’”

 Id. (quotation omitted). “A ‘substantial burden’ is one that: (1) significantly inhibits or

 constrains a plaintiff's religious conduct or expression, (2) meaningfully curtails a plaintiff's

 ability to express adherence to his faith, or (3) denies the plaintiff reasonable opportunity

 to engage in fundamental religious activities.” Mares v. LePage, No. 16-cv-03082-RBJ-

 NYW, 2018 WL 1312814, at *3 (D. Colo. March 13, 2018) (quotations omitted). In

 addition, Plaintiff “must include sufficient facts to indicate the plausibility that the actions

 of which he complains were not reasonably related to legitimate penological interests.”

 Gee v. Pacheco, 627 F.3d 1178, 1188 (10th Cir. 2010).

        If a prisoner satisfies the substantial burden inquiry in connection with the free

 exercise claim, prison officials may then “‘identif[y] the legitimate penological interests



        12 This is not the case under RLUIPA, however, since individual capacity claims are
 barred. Stewart, 701 F.3d at 1335. As noted in Section III.A.3, supra, the Court has not
 addressed whether the BCCF Defendants may be sued in their official capacity claims for
 prospective equitable relief because this issue has not been raised or briefed.


                                               -20-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 21 of 65




 that justif[ied] the impinging conduct.’” Kay, 500 F.3d at 1218 (quotation omitted). “The

 burden then returns to the prisoner to ‘show that these articulated concerns were

 irrational.’”   Id. at 1218 n. 2 (quotation omitted).      The Court then determines the

 reasonableness of the penological interests. Kay, 500 F.3d at 1218-19. The Motions to

 Dismiss focus on whether Plaintiff has met the second step of the initial two-step inquiry;

 namely, whether Plaintiff has alleged sufficient facts that the actions at issue were not

 reasonably related to legitimate penological interests. Accordingly, the Court does not

 reach the later steps in the burden-shifting paradigm in this Order.

         Turning to RLUIPA, that Act provides that ‘no [state or local] government shall

 impose a substantial burden on the religious exercise of a person residing in or confined

 to an institution, unless the government shows that the burden furthers ‘a compelling

 governmental interest’ and does so by ‘the least restrictive means.’” Kay, 500 F.3d at

 1221 (quoting 42 U.S.C. § 2000cc-1(a)(1)-(2)). RLUIPA first requires the Court “to ask

 whether an inmate's (1) religious exercise is (2) substantially burdened by prison policy.”

 Yellowbear, 741 F.3d at 52. The Act applies to “any exercise of religion, whether or not

 compelled by, or central to, a system of religious belief.” Kay, 500 F.3d at 1221. A burden

 on a religious exercise “rises to the level of being ‘substantial’ when (at the very least) the

 government (1) requires the plaintiff to participate in an activity prohibited by a sincerely

 held religious belief, (2) prevents the plaintiff from participating in an activity motivated by

 a sincerely held religious belief, or (3) places considerable pressure on the plaintiff to

 violate a sincerely held religious belief. . . . “ Yellowbear, 741 F.3d at 55.




                                              -21-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 22 of 65




        Unlike a First Amendment free exercise claim, there is no requirement under

 RLUIPA for the plaintiff to allege facts indicating that the actions at issue were not

 reasonably related to legitimate penological reasons. See AIAmiin v. Patton, 2016 WL

 11475169, at *31 (W.D. Okla. Aug. 30, 2016) (citing Yellowbear, 741 F.3d at 53, 56).

 Instead, if a substantial burden is shown under RLUIPA, “the burden of proof shifts to the

 government to show that the substantial burden results from a compelling governmental

 interest and that the government has employed the ‘least restrictive’ means of

 accomplishing its interest.” Abdulhasseeb v Calbone, 600 F.3d 1301, 1312 (10th Cir.

 2010). Again, the Government has not addressed its burden of proof at the second step

 of the burden-shifting paradigm.

        b.     The Analysis of the Free Exercise and RLUIPA Claims

                      i.      Claim One

        In Claim One, Plaintiff alleges that the BCCF and CDOC Defendants denied his

 request to personally possess sacred items for his personal religious ceremonies and

 practices consisting of a ceremonial pipe, eagle feather, a hand drum, a rattle, a flute, a

 ribbon shirt, and bells. Am. Comp. [#66] at 7-14. According to Plaintiff, “[t]he Sac and

 Fox way of life incorporates the use of prayer, song, dance, ceremony, craft, and daily

 conduct as an only way to express religion that respects Ketchemanetowa and the

 creation[,] and in turn Ketchemanetowa provides protection to me and my family and of

 my physical and spiritual being.” Id. at 7.

        More specifically, as to a pipe, Plaintiff acknowledges that a pipe is used in Native

 American ceremonies at BCCF, but avers that he needs a personal pipe because the


                                               -22-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 23 of 65




 ceremonies are practiced in the Lakota religion, the only Native American faith recognized

 by the BCCF and CDOC. Am. Compl. [#66]. at 8-9. Plaintiff further avers that the Lakota

 ceremonies do not allow him to use a pipe in the manner required to make prayers in the

 Sac and Fox way and denies his connection to the spirits and Ketchemanetowa. Id.

 Further, Plaintiff alleges that he is denied the use of the other faith items referenced

 above, which are integral parts of his religion and its ceremonies. Id. at 9-14.

                                 A.      The Substantial Burden Requirement

         The Court first notes for purposes of the free exercise and RLUIPA claims that

 Defendants do not question or dispute that Plaintiff’s Native American faith based on the

 Sac and Fox way constitutes a religion. In addition, it is undisputed that Plaintiff’s faith is

 sincerely held, and that the use of the faith items at issue in all of Plaintiff’s claims are a

 part of Plaintiff’s faith. Finally and importantly, it is undisputed that the denial of the faith

 items or other items at issue that Plaintiff claims he needs to practice his faith constitutes

 a substantial burden on the exercise of Plaintiff’s sincerely held religious beliefs.

         In fact, the Court notes that Plaintiff has added pages of facts in Claim One about

 how the items at issue are sacred and how they are essential to his ability to practice his

 religion. Cf. Compl. [#1] at 7-8 with Am. Comp. [#66] at 7-14. 13 Defendants do not



          13 Plaintiff thus alleges, for example, that (1) “[w]ithout a personal Pipe I am denied my
 connection to the [ ] spirts and Ketchemanetowa” and “cannot pray in my language[;]” (2) a rattle
 is used in all ceremonies and without a rattle, Plaintiff “lacks the power to summon any of the
 Spirits[;]” (3) “[w]ithout a personal Flute I have no way to connect with and commune with” the
 spirits[,]” and this brings violence into my life” in retribution; and (4) “[b]y forcing me to practice in
 Lakota ceremonies and denying me personal sacred objects to perform Sac and Fox ceremonies,
 is to deny me a way of life. I cannot pray, sing, celebrate Sac and Fox holy days, or dance. . . .”
 Am. Compl.[#66] ¶¶ 23, 26-27, 31, 37; 54; see also ¶¶ 39-69 (similar allegations as to a hand-
 drum, ribbon shirt, dance-bells, head wear, a medicine bag, and a choker necklace).

                                                   -23-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 24 of 65




 address these or the other new allegations, or dispute that they meet Plaintiff’s burden of

 showing that Defendants’ denial of these items constitutes a substantial burden on the

 exercise of Plaintiff’s religious beliefs. The Court finds that Plaintiff’s new allegations cure

 the deficiencies as to this claim which the Court found in its Order [#55] on the prior

 Motions to Dismiss. The Court’s Order [#55] was based on the finding that this claim as

 previously alleged failed to state a claim because Plaintiff alleged that he was able to

 utilize communal items for his religious practice, and only complained that he was not

 allowed to possess these items personally. Order [#55] at 9. Plaintiff has now made

 clear that he is completely denied the use of the alleged faith items, or as to a pipe, that

 he is not able to use it in the manner required by his faith. Am. Compl. [#66] at 9-11.

         Based on the foregoing, even though this issue is not contested, the Court finds

 that Plaintiff has alleged facts from which the Court can find that the deprivation of use of

 the faith objects at issue significantly inhibits or constrains Plaintiff's religious conduct or

 expression, or meaningfully curtails Plaintiff’s ability to express adherence to his faith, i.e.,

 that Plaintiff has met the substantial burden requirement of both the First Amendment free

 association and RLUIPA claims in Claim One. See Am. Compl. [#66] at 8-9; see also

 Mares, 2018 WL 1312814, at *3. Accordingly, the Motions to Dismiss are denied as to

 the RLUIPA claim in Claim One, as this is all that Plaintiff is required to allege to state a

 case.

                              B.      Legitimate Penological Interest

         The Court next addresses the second step of the inquiry required to state a free

 exercise claim, i.e., whether Plaintiff has alleged sufficient facts to indicate the plausibility


                                               -24-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 25 of 65




 that the actions of which he complains were not reasonably related to legitimate

 penological interests. While the CDOC Motion [#76] argues that Plaintiff has not met this

 requirement (id. at 14-15), the Court disagrees.

        Plaintiff alleges that when he communicated with Defendant Roark, the Warden of

 BCCF, about the hardships the denial of the sacred objects was having on his day-to-day

 life, Roark assured Plaintiff he would look into the issue and see what the facility could do

 to provide access to the sacred items requested by Plaintiff. This was allegedly consistent

 with “CC’s 1-1BB policy.” Am. Compl. [#66] at 11, ¶ 42. However, nothing was ever done

 about Plaintiff’s request. Id. ¶ 43 (“After multiple attempts between October 2020 and

 January 2021 no attempt was made to accommodate a least restrictive means for me to

 posses [sic] personal sacred objects other than an outright denial.”)         There are no

 allegations that Defendant Roark raised any legitimate penological reasons for denying

 Plaintiff’s requests for his faith items; instead, his response to Plaintiff indicated that

 Plaintiff’s request tor access to faith items may be feasible. From this, the Court can

 plausibly infer that the denial of the faith items was not due to legitimate penological

 reasons, but for other reasons that caused Roark to simply ignore Plaintiff’s requests.

        This finding is further supported by the allegation that when Plaintiff asked BCCF

 Defendants Hestand, Salazar, Kelso, and Griffith about obtaining faith items, they denied

 these requests without any research into the Sac and Fox religion and whether Plaintiff

 may have a constitutional right to such items. Am. Compl. [#66] at 8. In fact, Plaintiff

 alleges he was referred to as an “Indian” by Defendant Hestand, and told that his beliefs

 are the same as all other Indians. Id. at 12, ¶ 51. Finally, Plaintiff alleges that Kelso,


                                             -25-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 26 of 65




 Griffith, and Smith, who do not work at BCCF (CDOC Motion [#76] at 22) were “falsifying

 reports” about his requests. Am. Compl. [#66] at 8, 22, ¶ 9; 14 ,¶ 73.         Based on the

 foregoing, the Court denies the CDOC Motion [#76] as to the argument that Plaintiff did

 not meet the second prong of the test to state a free exercise claim.

        While the Court has already found allegations from which it can infer that the

 actions at issue were not reasonably related to legitimate penological interests, the Court

 addresses the CDOC Defendants’ specific argument that Plaintiff failed to allege any facts

 indicating how or why a denial of a personal ceremonial pipe is not reasonably related to

 a legitimate penological interest. Id. at 14. The CDOC Defendants state in that regard

 that Plaintiff fails to assert why CDOC’s legitimate penological interest in health and safety

 would not apply to an inmate’s possession of a personal pipe that the inmate intends to

 smoke. Id. at 14 (citing, e.g., Dayson v. Caruso, No. 2:12-cv-455, 2013 WL 1857445, at

 *5 (W.D. Mich. May 2, 2013) (“Prison officials have a legitimate governmental interest in

 preventing prisoners from possessing tobacco and matches in their personal property, as

 those items possess a clear danger to the health and safety of prisoners and prison

 staff.”); see also CDOC Reply [#97] at 6-7.

        The CDOC Defendants further aver that courts which have directly addressed

 similar issues have found that prisons have legitimate penological interests in denying

 personal possession of similar items.       CDOC Mot. [#76] at 14.        Again, the CDOC

 Defendants point to Dayson, in which the Native American prisoner alleged that tobacco

 and matches were required as sacred items for a smudging ritual, and tobacco was the

 only way to pray to certain deities in the Native American religion. 2013 WL 1857445, at


                                             -26-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 27 of 65




 *4. The Dayson court, however, held the prison’s policy of not allowing Native American

 prisoners to possess materials for a smudging ritual in their cells did not violate the

 prisoner’s First Amendment free exercise rights. Id. at *5.

        From the foregoing, the CDOC Motion [#76] focuses only on the pipe requested

 by Plaintiffs, and asserts no argument that Plaintiff failed to meet the second prong of the

 test as to any of the other faith items at issue. The Court is thus only required to determine

 whether Plaintiff met his burden at the initial stage of alleging facts from which a

 reasonable inference can be drawn that the denial of a pipe was not reasonably related

 to a legitimate penological interest. The Court finds that Plaintiff has met this burden.

        Plaintiff has alleged that a pipe is already permitted in religious ceremonies at

 BCCF, including at the Lakota ceremony and the sweat lodge. Am. Compl. [#66] at 8,

 14. This indicates that safety concerns as to the use of pipes and tobacco noted in the

 cases cited by Defendants may not be legitimate, at least as to the use of pipes in

 ceremonies that are authorized at BCCF. Second, as previously discussed, Plaintiff has

 alleged as to his personal use of the faith items at issue (including the pipe) that when he

 approached Warden Roark about the hardships from the denial of these items, Roark told

 Plaintiff that he would look into the issue and see what the facility could do to provide

 access to these items, which items would be held in the Chaplain’s office. Am. Compl.

 [#66] at 11, ¶ 42. This indicates BCCF’s willingness to consider that the faith items

 requested by Plaintiff, including a pipe, could be provided in a way to accommodate the

 facility’s legitimate penological interests, such as keeping them in the Chaplain’s office.

 Plaintiff was never provided a reason why this did not happen. Id. at ¶ 43.


                                             -27-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 28 of 65




        Further, construing the evidence in the light most favorable to Plaintiff, it appears

 he did not insist that a pipe be provided for use in his cell (see Response [#90] at 12),

 which again may implicate the type of security concerns referenced in the cases relied on

 by the CDOC Defendants. Instead, Plaintiff alleges that he offered the alternative that

 the faith items could be stored in a secure area with a special process required to obtain

 such items (Amended Complaint [#66] at 11, ¶ 44), and that he wanted to use the pipe at

 the faith grounds. Resp. CDOC Mot. [#90] at 12-13. Nonetheless, Defendants did not

 get back to Plaintiff as to that accommodation or consider whether Plaintiff could use the

 pipe at the faith grounds. Instead, Plaintiff continued not to be able to use a pipe in a

 manner that would accommodate his religious beliefs. Id. ¶ 43. Based on the foregoing,

 the Court finds that Plaintiff has stated plausible allegations that the outright denial of a

 pipe to Plaintiff, with no consideration of whether restrictions could be imposed to meet

 safety or other concerns, was not reasonably related to legitimate penological interests.

 The Court thus finds that Plaintiff has met his burden of establishing the two-step inquiry.

                             C.     Personal Participation

        Finally as to Claim One, the Court addresses the argument by the CDOC and

 BCCF Defendants that Plaintiff failed to plead their personal participation. First, as to the

 CDOC Defendants, Plaintiff alleges that Defendants Salazar, Kelso, Griffith, and Smith

 denied his request to personally possess alleged sacred items for his personal religious

 ceremonies and practices. CDOC Mot. [#66] at 21 (citing Am. Compl. [#66], at 7-9, 12,

 14 ¶¶ 8-9, 47, 72). Similarly, Plaintiff alleges that BCCF Defendants Hestand, Carson,

 and Roark either denied his request for faith items or never got back to him about this


                                             -28-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 29 of 65




 request. See Am. Compl. [#66] at 7-14. The CDOC Motion [#76] asserts that these

 allegations relate solely to denials of grievances and responses to requests for

 accommodations or policy changes, and that this is not sufficient to show personal

 participation. Id. at 21-22. The BCCF Motion [#79] makes essentially the same argument.

 Id. at 9. The Court disagrees, and finds that Plaintiff has adequately alleged the personal

 participation of the BCCF and CDOC Defendants identified in Claim One.

        First, the CDOC and BCCF Defendants cite authority that the denial of grievances

 is insufficient to demonstrate personal participation. CDOC Mot. [#76] at 22; BCCF Mot.

 [#79] at 9. Here, however, Plaintiff has alleged that he was told he could not grieve his

 requests for faith items (Amended Complaint [#66] at 7 ¶ 5), and has alleged that the

 Defendants identified in Claim One personally denied his requests for the faith items, with

 no investigation or understanding of his religious practices. See Am. Compl. [#66] at 7-

 8. Accordingly, Claim One is not simply based on the denial of grievances; and the named

 Defendants who denied Plaintiff’s requests were “personally involved in the violation[s]

 alleged” as required to show personal participation. Baird v. Corrs. Corp. of Am., No. 10-

 cv-00537-ZLW-CBS, 2011 WL 742468, at *5 (D. Colo. Jan. 5, 2011); see also Hamlin v.

 Smith, No. 07-cv-01058-EWN-KMT, 2008 WL 4210795, at *6 (D. Colo. Sep. 10, 2008). 14

        In addition, the CDOC Motion [#76] asserts that Williams should be dismissed from

 this claim for lack of personal participation. The Motion [#76] notes that Plaintiff’s only


        14   Regardless of whether the BCCF Defendants were following instructions from CDOC
 employees and CDOC policies (BCCF Motion [#79] at 9), they are liable for their own personal
 participation in the constitutional violations as stated in Baird and Hamlin. Further, the Court
 rejects the argument that Plaintiff’s allegations are conclusory, as Plaintiff specifies how each
 BCCF Defendant violated Plaintiff’s constitutional rights and failed to conduct his/her duties.

                                               -29-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 30 of 65




 allegation as to Williams is that Defendant Kelso denied Plaintiffs’ request for faith items

 with a memorandum issued from Williams and the Governor. CDOC Mot. [#76] at 21-22

 (citing id. at 8, ¶ 8.) It is argued that Plaintiff has only alleged that Williams’s name was

 included on memoranda and/or letterhead, and alleges no other facts regarding

 Williams’s lack of control or failure to supervise.       Id. Thus, even with reasonable

 inferences in his favor with regard to the denials of requests and grievances, the CDOC

 Defendants assert that Plaintiff’s claim against Williams should be dismissed based on

 lack of personal participation. Id. The Court infers that this argument may also apply to

 the Governor, whose Motion [#73] has incorporated the CDOC Defendants’ arguments.

 The Court agrees that in order for Defendant Williams (as well as the Governor) to be

 proper defendants, Plaintiff must allege their personal participation. Plaintiff can establish

 personal participation by averring that Defendants’ subordinates violated the constitution,

 and that there is an ‘”affirmative link’ between [the Defendants] and the violation.” Serna

 v. Colo. Dep’t of Corrections, 455 F.3d 1146, 1151 (10th Cir. 2006).

        The Court finds that “simple awareness” of Plaintiff’s allegations “by virtue of” the

 receipt of correspondence does not constitute personal participation. Andrews v. Huber,

 No. 11-cv-01366-MSK-KLM, 2012 WL 3538725, at *5 (D. Colo. April 2, 2012). The issue

 is whether there are plausible allegations that Williams (and the Governor) either directed

 their subordinates to take or to refrain from the action that resulted in the alleged

 constitutional violations or had actual knowledge that their subordinates were committing

 the alleged constitutional violation. Id. Supervisory liability can also be imposed “‘upon

 a defendant-supervisor who creates, promulgates, [or] implements . . . a policy . . . which


                                             -30-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 31 of 65




 subjects. . . plaintiff to the deprivation of’” constitutional rights, and acts with the required

 state of mind, i.e., the authorization or approval through the policy of the misconduct

 related to the constitutional violation. Brown v. Montoya, 662 F.3d 1152, 1163-64 (10th

 Cir. 2011); Dodd v. Richardson, 614 F.3d 1185, 1199 (10th Cir. 2010).                       The

 implementation of an unconstitutional policy can thus serve as the supervisor's

 “‘affirmative link’ to the constitutional violation.” Dodds, 614 F.3d at 1199.

        Here, the Court finds that Plaintiff has alleged that Williams (and the Governor)

 created and enforced a policy (or an AR) that directly subjected Plaintiff to a deprivation

 of his constitutional rights. Further, it can be inferred from the memorandum on the

 letterhead from Williams and the Governor that they were aware that their subordinates

 in the BCCF and CDOC were allegedly violating Plaintiff’s constitutional rights in regard

 to his faith, meaning that there is an affirmative link between that conduct and Williams

 and the Governor. The facts, taken in the light most favorable to Plaintiff, show these

 Defendants “may have played more than a passive role in the alleged constitutional

 violation—[they] may have deliberately enforced or actively maintained the policies in

 question” at the facility even after having knowledge of Plaintiff’s assertion of the violation

 of his constitutional rights. Id. at 1203-04. Accordingly, the CDOC and BCCF Motion

 [#76, #79] are denied as to the issue of lack of personal participation.

                              D.      Conclusion as to Claim One

        In conclusion, the Court denies the Motions to Dismiss as to the First Amendment

 free exercise and RLUIPA claims in Claim One.




                                               -31-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 32 of 65




                      ii.    Claim Two

        In Claim Two, Plaintiff avers that he missed out on a number of religious

 ceremonies because he did not have funds to purchase the firewood and herbs required

 for the ceremony. Am. Compl. [#66] at 14-15. When Plaintiff brought this to the attention

 of Defendant Hestand, and stated that funds should be provided to purchase these

 materials pursuant to AR 800-01(IV)(M) (approving donations of equipment or materials

 for use in faith-based programs), Hestand responded that he did not have to provide such

 donations pursuant to the Colorado Constitution. Id. at 15. Defendants Salazar and

 Griffith also denied a solution regarding Plaintiff’s need for funds for the firewood and

 herbs, and DeCesaro (on a letterhead from Williams and the Governor) advised that

 “[e]ach faith group is financially responsible for procuring faith-based property.”      Id.

 Plaintiff avers, that firewood and herbs are not faith-based “property” and should be

 provided through federal funds, and points to other faiths where such funds are provided

 for materials. Id.

        The CDOC Defendants argue that Claim Two should be dismissed because this

 claim was dismissed with prejudice in the Court’s prior Order [#55]. CDOC Mot. [#76] at

 13 n. 5 (citing Order [#55] at 15). Plaintiff asserts that he is asserting a different claim

 than in Claim Two of the initial Complaint [#1], and that he no longer relies on federal and

 state law in which he had no private right of action. Resp. CDOC Mot. [#90] at 9 n. 1.

 The Court disagrees with Plaintiff. While Plaintiff may have relied on state and/or federal

 law in addition to RLUIPA and the First Amendment in the initial Complaint [#1], that claim


                                            -32-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 33 of 65




 and the claim as reasserted in the Amended Complaint [#66] with some additional

 allegations, are essentially the same.      The thrust of the claim is that Plaintiff was

 improperly denied federal funds for the firewood and herbs he needs for religious

 ceremonies, forcing Plaintiff to do without and miss ceremonies. The Court dismissed

 this claim with prejudice in its Order [#55] on the previous Motions to Dismiss, finding that

 under the First Amendment and RLUIPA, “prison officials do not have an affirmative duty

 to provide free religious materials or other articles to inmates.” Id. at 14-15 (citing Rea v.

 Colorado Dep't of Corrs., No. 09-CV-03014-REB-CBS, 2010 WL 5575163, at *6 (D. Colo.

 Dec. 7, 2010), R and R adopted, No. 09-CV-03014-REB-CBS, 2011 WL 110917 (D. Colo.

 Jan. 13, 2011). Accordingly, the Court held that inmates “have no right to force the CDOC

 to purchase additional materials for their personal religious use.” Id. Since the claim was

 dismissed with prejudice, Plaintiff cannot reassert it with different or new allegations, or

 make additional arguments as to why dismissal was not proper.

        It appears, however, that Claim Two may also assert religious discrimination for

 disparity in treatment between religions in regard to materials, utilities, or other items.

 See Am. Compl. [#66] at 16. This claim was dismissed without prejudice in the prior

 Order [#55], and is thus not necessarily barred as a result. Id. at 16. Nonetheless, the

 Court finds that this portion of Claim Two should be dismissed for the same reason as

 stated in the prior Order [#55] and in the current CDOC Motion [#79]. See id. at 17-19.

        “To state a claim for religious discrimination in violation of the First Amendment, a

 plaintiff must plead “that the defendant acted with discriminatory purpose[,]” which

 “’requires more than intent as volition or intent as awareness of consequences.’” Iqbal,


                                             -33-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 34 of 65




 556 U.S. at 676 (quotation omitted). “It instead involves a decisionmaker’s undertaking

 a course of action ‘because of,’ not merely ‘in spite of,’ [the action’s] adverse effects upon

 an identifiable group.” Id. at 676-77 (citation omitted; alteration in original). Similarly, to

 state a religious discrimination claim under RLUIPA, Plaintiff must make allegations of

 discriminatory intent. See 42 U.S.C. § 2000cc(b)(2); Chabad Lubavitch of Litchfield Cnty.,

 Inc. v. Litchfield Historic Dist. Comm’n, 768 F.3d 183, 198 (2d Cir. 2014).

        Here, as with the prior version of this claim in the initial Complaint [#1], Plaintiff

 does not allege any facts from which the Court can infer discriminatory intent. The facts

 which Plaintiff did plead on that issue are merely conclusory. For example, Plaintiff

 averred that “[t]he defendants listed above for their own reasons, lack of knowledge,

 purposely, or negligently, continue to attempt the cultural genocide of the Sac and Fox

 and my way of life”. Am. Compl. [#66] at 12 ¶ 50. This type of conclusory allegation is

 not entitled to the presumption of truth. See Iqbal, 556 U.S. at 681.

        Further, Plaintiff has alleged no facts that as compared to other religions which

 were provided faith-based materials, a decisionmaker required Plaintiff or other Native

 Americans to pay for their firewood and herbs because of, not in spite of, the Native

 American religions. See Iqbal, 556 U.S. at 676. In fact, a finding that the requirement to

 pay was “because of” Plaintiff’s religion is not plausible given Plaintiff’s allegation that he

 was told the basis for the requirement that he pay for firewood and herbs was that “‘[e]ach

 faith group is financially responsible for procuring faith-based property” under the

 Colorado Constitution. Am. Compl. [#66] at 15 ¶ 8. Assuming firewood is faith-based

 property, this would appear to be a neutral, nondiscriminatory reason for requiring Plaintiff


                                              -34-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 35 of 65




 and other Native Americans to pay for the firewood and herbs.            Further, as to the

 materials, utilities, or other items which were allegedly provided to other faiths, Plaintiff

 has not alleged facts from which the Court can find that these items were “faith-based

 property” that should have been paid for. Plaintiff has thus not plausibly alleged that he

 was discriminated against because of his Sac & Fox religion.

        Based on the foregoing, the CDOC Motion [#76] is granted as to the portion of

 Claim Two that asserts a First Amendment free association claim and RLUIPA, since

 these claims were previously dismissed with prejudice. Further, the CDOC Motion [#76]

 is granted to the extent Claim Two asserts a religious discrimination claim.

                      iii.   Claim Three

        In Claim Three, Plaintiff alleges that he submitted a request to Defendant Kelso to

 amend AR 800-01 to allow him (1) to “Wazila” (spiritually cleanse) his living space with

 sage smoke and cedar burnt inside unit cells and (2) to embellish his headband and

 medicine bag with beads and stones. Am. Compl. [#66] at 17, ¶¶ 105-06. Kelso informed

 the Governor, Trani, and Williams as to this request, but did not consult with anyone in

 the Native American community to understand the importance of what Plaintiff was

 requesting. Id. Six months later, the Governor and Williams adopted a new AR 800-01

 that did not consider the requirements of Plaintiff’s faith. Id. ¶ 107. Since then, Plaintiff

 alleges that Defendant Trani enforces the AR despite his duty not to enforce any policy

 that violates the Constitution. Id. ¶ 108. Plaintiff alleges that in the Sac and Fox way, he

 is required to Wazila any structure he lives in so that bad spirits cannot come in, and that

 he has been denied this under the threat of discipline that would result in additional days


                                             -35-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 36 of 65




 of imprisonment. Id. at 17-18. 15

        Plaintiff further alleges that he has been denied the right to wear stones or

 embellish his headband or medicine bundle with beads or stones, and that this is also

 required as part of his religious beliefs. Am. Compl. [#66] at 17-18. Without the ability to

 do these activities, Plaintiff claims that “Ketchemanetowa will not offer protection which

 then passes on to other family members as disfavor.” Id. at 18, ¶ 122. According to

 Plaintiff, Defendants Williams, Trani, Kelso, and the Governor chose “to create and

 enforce a policy that denies my religious expression when there are [less] restrictive

 means available,” and that these Defendants “have collaborated together to create and

 enforce” these policies. Id., ¶ 125.

        Turning to the merits, the Motions to Dismiss do not dispute that the activities that

 Plaintiff complains he cannot do are a substantial burden on his sincerely held religious

 beliefs. Thus, the Court finds that Plaintiff has stated a RLUIPA claim.

        The CDOC Motion [#76] asserts, however, that Plaintiff has not met the second

 part of the two-step test required to state a free exercise claim, because Plaintiff did not

 articulate facts which indicate that the preclusion of the activities is unrelated to legitimate

 penological interests. Id. at 14-15. It is argued in that regard that Plaintiff makes the

 conclusory allegation that “[t]here is no threat to the safety or security” to allow him to

 embellish his headband and medicine bag. Am. Compl. [#66] at 19, ¶ 124. Plaintiff




         15 Unlike this claim in the initial Complaint [#1] which the Court construed to assert a
 single occasion when Plaintiff’s request to spiritually cleanse his cell and to embellish objects was
 denied (Order [#55] at 17-19), Plaintiff has now alleged multiple occasions when these alleged
 violations occurred. See Am. Compl. [#66] at 18.

                                                 -36-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 37 of 65




 additionally alleges, without supporting factual averments, that “there is no threat to the

 safety or security” to allow him to Wazila his living space under direct controlled

 supervision. Id. at 19, ¶ 123.

        Defendants fail to note, however, that as to the request to Wazila his space,

 Plaintiff also asserts that while the facility is tobacco free, the sage and cedar required to

 spiritually cleanse the space are “not of the plant genus of tobacco.” Id. Plaintiff further

 points out that the Wazila ceremony is only done upon moving into a new space, not on

 a daily basis, and that similar activities of lighting of Chanukah candles and smudging

 may be authorized if under supervision. See Resp. CDOC Mot. [#90] at 13-14, 20 (citing

 AR attached as Ex. A to the CDOC Motion [#76]). 16 While the CDOC Defendants aver in

 their Reply [#97] that smudging and lighting of Chanukah candles are not permitted in an

 inmate’s cell, id. at 9, it is undisputed that these activities are permitted at the facility.

 Liberally construed, the Court can plausibly infer from Plaintiff’s allegations that the

 reasons given (safety and security) for not allowing Plaintiff to Wazila his cell or embellish

 his headband and medicine bag, at least under supervision, may not reasonably relate to

 legitimate penological interests. Accordingly, at this stage of the litigation, the Court finds

 those allegations are sufficient to meet the second prong of the free exercise inquiry.

 Defendants’ argument is better suited to the burden-shifting paradigm, where it is their

 burden to identify the legitimate penological interest that justified the denial of impinging

 conduct and Plaintiff’s corresponding burden to show that this interest is irrational.


       16 As the CDOC Motion [#76] notes, the court may take judicial notice of CDOC’s
 Administrative Regulations. Id. at 7. N 3 (citing Reynolds v. Colo. Dep’t of Corrs., No. 12-cv-
 02558-PAB-KMT, 2015 WL 5168783, at *2 n. 4 (D. Colo. Sept. 3, 2015)).

                                              -37-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 38 of 65




        Finally, the Court addresses the argument in the CDOC Motion [#76] that Plaintiff

 has failed to show personal participation on the part of the named Defendants in the claim.

 Similar to the arguments made in Claim One, the CDOC Defendants assert that the

 allegations that Plaintiff sent them correspondence is insufficient to show personal

 participation. CDOC Mot. [#76] at 20. The Court finds that this argument fails for the

 same reason as discussed in Claim One.              While “simple awareness” of Plaintiff’s

 allegations “by virtue of” the receipt of correspondence does not constitute personal

 participation, Andrews, 2012 WL 3538725, at *5, Plaintiff has alleged that Defendant

 Kelso informed the Governor, Trani, and Williams about Plaintiff’s requests related to his

 faith, and that they then created and enforced a policy (through an AR) that subjected

 Plaintiff to a deprivation of his constitutional rights. It can plausibly be inferred from

 Kelso’s advisement that all of the above Defendants were aware that their subordinates

 were allegedly violating Plaintiff’s constitutional rights in regard to his faith, and that they

 chose to allegedly continue such a violation by enacting a new AR that also violated

 Plaintiff’s constitutional rights. Accordingly, the Court finds that Plaintiff has demonstrated

 personal participation for purposes of the Motions to Dismiss in connection with Claim

 Three, and this argument is denied. 17

        .Based on the foregoing, the Motions to Dismiss are denied as to the First

 Amendment free association and RLUIPA claims in Claim Three.


        17     The CDOC Defendants’ argument regarding a lack of personal participation as to
 Defendants DeCesaro, Griffith, and Smith is not considered given that those Defendants are not
 named in Plaintiff’s claim. See CDOC Mot. [#76] at 20. Further, no BCCF Defendants were
 named in this claim, so the Court need not address the BCCF Defendants’ argument that Plaintiff
 failed to allege personal participation as to them. BCCF Mot. [#79] at 11.

                                              -38-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 39 of 65




               iv.     Claim Four

        Claim Four also relates to firewood and herbs. Plaintiff alleges that he donated

 money for the purchase of these materials for his religious ceremonies, and that the

 firewood was taken by BCCF staff members for their own use or by other faiths (the Asatru

 and the North American Paganism and Wiccan faiths).              Am. Compl. [#66] at 19.

 Accordingly, Plaintiff alleges that he was not able to practice his faith at numerous

 ceremonies.    Id. at 19-20.   Plaintiff avers that Defendants Trani, Williams, and the

 Governor have “developed a policy creating a loophole so firewood does not have to be

 purchased by the State because they claim it is ‘property’” and that it can then “be given

 to anyone because the only way to obtain the firewood is to place funds into a common

 account by ‘donation.’” Id. Plaintiff further alleges that he submitted a proposal to

 Hestand, Salazar, and Roark that there be a record kept as to how much was purchased

 or donated and who received the firewood, and that the firewood be placed in an area

 where staff and other faiths could not take it for their use. Id. According to Plaintiff, his

 proposal was not considered, even though there were less restrictive measures available,

 and there is still no accountability or documentation regarding the taking of firewood. Id.

        The Court again highlights that Defendants do not dispute that Plaintiff has alleged

 a substantial burden on a sincerely-held religious belief for purposes of RLUIPA.

 Accordingly, the Motions to Dismiss are denied as to the portion of Claim Four that

 alleges an RLUIPA claim.

        As to the free exercise claim, while the CDOC Motion [#76] argues generally that

 Plaintiff failed to allege facts to show that their actions and policies are unrelated to


                                             -39-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 40 of 65




 legitimate penological interests (id. at 13-14), the Motion only actually specifically

 addresses this issue as to Claims One and Three, not Claim Four. Id. at 14-15. In any

 event, the Court finds that the lack of a legitimate penological interest seems obvious in

 connection with the alleged dereliction of Defendants’ duties, i.e., Plaintiff alleges that he

 made donations into the Native American fund to purchase firewood needed for his

 religious ceremonies, was denied the ability to obtain firewood for several ceremonies

 because staff or other religions took the firewood, and that Defendants were advised of

 the issue but chose not to do anything. Am. Compl. [#66] at 19-20.

        The only specific argument made as to the RLUIPA and free exercise portion of

 Claim Four is the argument in the BCCF Motion [#79] that Plaintiff has not plausibly

 alleged that the conduct of Defendants in failing to ensure Plaintiff was permitted to obtain

 firewood from his donations and in permitting other faiths or staff to take the firewood was

 anything more than mere negligence. Id. at 12. As the Court noted in its Order [#55] on

 the prior Motions to Dismiss, the substantial burden on the exercise of Plaintiff’s religion

 must be a “result of a defendant’s ‘intentional interference’ with the plaintiff’s free exercise

 rights to state a valid claim under § 1983’—negligence is not sufficient.” Slater v. Teague,

 No. 17-cv-02084-PAB-STV, 2018 WL 1800919, at *3 (D. Colo. March 21, 2018) (quoting

 Gallagher v. Shelton, 587 F.3d 1063, 1069 (10th.Cir. 2009)); see also McLeod v. Williams,

 No. 18-CV-115 (RA), 2020 WL 2512164, at *6 (S.D.N.Y. May 15, 2020) (“[a] prison official

 must knowingly place a substantial burden on a prisoner's religious beliefs to incur liability

 for damages under RLUIPA or the Constitution[,]’” and “damages claims based solely on




                                              -40-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 41 of 65




 the negligent infringement of a prisoner's right to religious freedom are not actionable

 under either the First Amendment or RLUIPA’”) (quotation omitted).

        The Court dismissed without prejudice Plaintiff’s prior version of this claim in the

 initial Complaint [#1] because Plaintiff did “not allege that Defendants intentionally took

 any action that deprived Plaintiff of the firewood; instead, he alleges that Defendants

 failed to protect the firewood.” Order [#55] at 20-21. In the Amended Complaint [#66],

 while Plaintiff continues to allege that the firewood he made donations for was not

 protected from staff or other faiths, he has also alleged that he put Defendants Hestand,

 Salazar, and Roark on notice of these activities and made a proposal to try to solve the

 problem, and that they just chose “to ignore their duties.” Am. Compl. [#66] at 19-20. The

 Court finds that liberally construing Plaintiff’s Complaint, Plaintiff has plausibly alleged

 that these Defendants knowingly or intentionally placed a substantial burden on Plaintiff’s

 religion by not acting on the issues raised by Plaintiff, and has also plausibly shown their

 personal participation. 18 Accordingly, the Motions to Dismiss are denied as to the free

 exercise and RLUIPA claims in Claim Four.

        The CDOC Motion [#76] argues, however, that to the extent Claim Four may assert

 a claim of religious discrimination in connection with the way other faiths were allowed to




         18 The BCCF Motion [#79] asserts as to personal participation that Plaintiff does not
 allege that any of the BCCF Defendants were involved in the creation of the CDOC policy
 regarding the way in which firewood was handled or had the authority to amend or change this
 policy. Id. at 11 The Motion [#79] further asserts that Plaintiff has not alleged that the BCCF
 Defendants were engaged in the taking of the firewood. Id. While this may be true, Plaintiff has
 alleged personal participation by their decision after having been advised of the problem with the
 firewood to ignore their duties and do nothing.


                                               -41-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 42 of 65




 take firewood donated into a common fund, this portion of the claim should be dismissed.

 Id. at 17-19. The Court agrees and dismisses this claim to the extent it is alleged in

 Claim Four. As with Claim Two, Plaintiff alleges no facts from which the Court can infer

 discriminatory intent. Further, Plaintiff has alleged no facts that a decisionmaker required

 Plaintiff or other Native Americans to pay for their firewood and herbs because of, not in

 spite of, Plaintiff’s Native American religion. See Iqbal, 556 U.S. at 676. In fact, Plaintiff

 alleged that he was told by Defendants “that because wood cannot be purchased except

 by donation into the Native American fund the wood purchased is considered donated

 wood and can be given to these faiths [Asatru, North Western European Paganism, and

 Wiccan] for their ceremonies.” Am. Compl. [#66] at 19, ¶¶ 129, 130. This would appear

 to be a neutral, nondiscriminatory reason for the way firewood was handled by the facility,

 and Plaintiff has thus not plausibly alleged discrimination “because of” his Sac & Fox

 religion. See Iqbal, 556 U.S. at 676. Further, to the extent that Plaintiff claims religious

 discrimination in any of his other claims, these claims are dismissed for the same reason.

        Based on the foregoing, the Motions to Dismiss are denied as to the First

 Amendment free association and RLUIPA claims in Claim Four, but granted as to the

 portion of Claim Four that may allege religious discrimination.

               v.     Claim Five

        Claim Five alleges that Defendant Hestand “embezzled” money donated by

 Plaintiff to the Native American fund to purchase firewood, “denying [Plaintiff] the

 opportunity to participate in” his religious ceremonies. Am. Compl. [#66] at 20, ¶¶ 137-

 38. Plaintiff alleges dates of ceremonies that he was not permitted to attend because


                                             -42-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 43 of 65




 Hestand stated there was no money in the fund. Id. at 20, ¶¶ 146-47. According to

 Plaintiff, Defendant Hestand conspires with another individual (perhaps a vendor) to

 overcharge for firewood and then receives a “kick back[,]” and that Hestand also

 overcharges for herbs required in ceremonies. Id. at 19, ¶¶ 140-41. Plaintiff avers that

 he has asked for accountings and has failed to receive them. See id. at 20. 19 According

 to Plaintiff, this violates his Fourteenth Amendment right to be protected from theft, and

 the denial of his ability to practice his faith violates the First Amendment. Id. ¶ 148. 20

         The BCCF Motion [#79] asserts, and the Court agrees, that Plaintiff’s claims that

 Hestand conspired with another individual to overcharge for firewood, embezzled funds,

 or received a kick back are conclusory and fail to state a claim. Id. at 12-13. These

 allegations “[e]xpress[ ] a factual inference without stating the underlying facts on which

 the inference is based.” Johnson v. City and Cnty. of Denver, No. 06-cv-02133-CMA-

 MJW, 2010 WL 466143, at *3 n. 5 (D. Colo. Feb. 8, 2010); see also Durre v. Dempsey,

 869 F.2d 543, 545 (10th Cir. 1989) (holding that a plaintiff cannot sustain a conspiracy

 claim solely with conclusory allegations); Greenway Univ., Inc. v. Greenway of Arizona,

 LLC, No. 11-cv-01055-RBJ-KLM, 2012 WL 1801948, at *10 (D. Colo. Feb. 15, 2018)

 (dismissing a conclusory claim of civil theft which appeared to have been “simply thrown



         19 As the Court noted in its prior Order [#55] as to Plaintiff’s request for an accounting of
 the firewood in connection with Claims Four and Five, this does not appear to be tied to Plaintiff’s
 religion. Id. at 19-20 n. 12. As with the initial Complaint [#1], Plaintiff has not alleged in the
 Amended Complaint [#66] that the failure to obtain an accounting from Defendants substantially
 burdens his sincerely held religious beliefs or the exercise of his religion. This portion of Plaintiff’s
 allegations thus fails to state either a free exercise or RLUIPA claim.

         20 To the extent Plaintiff may be attempting to assert a due process claim in connection
 with this allegation, this is addressed in Section III.D.5, infra.

                                                   -43-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 44 of 65




 into a multi-claim complaint[,]” and noting that theft is a “serious crime, akin to fraud”).

        Further as to the merits of Claim Five, although Plaintiff would obviously prefer that

 the firewood or herbs be provided at a lower price, he does not allege facts showing his

 religious practices were substantially burdened by the quality of firewood or the price paid

 for such materials. Plaintiff does not allege that the firewood did not burn or that the

 firewood and herbs that Plaintiff purchased were defective in some way such that they

 could not be used in religious ceremonies. See BCCF Mot. [#79] at 13. Accordingly, the

 Court agrees with the BCCF Defendants that Plaintiff has failed to show that the cost of

 the firewood or the vendor selected substantially burdened the exercise of his religion by

 such things as 1) significantly constraining his religious expression, (2) meaningfully

 curtailing his ability to express adherence to his faith, or (3) denying him a reasonable

 opportunity to engage in fundamental religious activities. Id.

        Accordingly, the BCCF Defendants’ Motion is granted as to the RLUIPA and free

 exercise claims asserted in Claim Five, and these claims are dismissed.

               vi.    Claim Six

        To the extent that Plaintiff alleges in Claim Six that lockdowns Defendants Williams

 and Trani instituted or enforced due to the COVID-19 pandemic violated his free exercise

 or RLUIPA rights because he could not practice his religion on the faith grounds

 (Amended Complaint [#66] at 21-23), this portion of Claim Six was denied as moot in

 Section III.B, supra.    Plaintiff also alleges, however, that even after the COVID-19

 restrictions on access to the faith grounds were lifted he was denied access to the faith

 grounds, and that this access is required so that he can use fire to cleanse his spirit and


                                              -44-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 45 of 65




 ask for protection. Am. Compl. [#66] at 22. Thus, Plaintiff avers that Defendant Hestand

 manipulated the schedule so that Plaintiff’s unit did not get access to the faith grounds,

 and that religious ceremonies were then suspended due to another lockdown from a new

 COVID-19 variant. Id., see also 23-24. Plaintiff alleges as a result that he has been

 denied access to the faith grounds to practice his religion for a total of 24 months, or a

 total loss of 122 ceremonies. Id.

        The Court notes the only Defendant who remains in this claim in connection with

 the access to faith grounds after the initial COVID-19 restrictions were lifted is Defendant

 Hestand. As to that Defendant, the Court finds that the BCCF Defendants did not address

 the free exercise or RLUIPA claims or contest that Plaintiff met the requirements of the

 claims. The only argument that the BCCF Defendants make is that Plaintiff attributed his

 inability to access the faith grounds during COVID-19 to policies of the Governor and

 CDOC employees, and that Plaintiff did not allege any of the BCCF Defendants were

 involved in the creation of these policies. BCCF Mot. [#79] at 13-14. This argument is

 moot since the remaining claim involves the alleged actions of Defendant Hestand after

 the COVID-19 restrictions were lifted.

        Accordingly, as to the allegations in this claim that are not moot, the Motions to

 Dismiss are denied as to the free exercise and RLUIPA claims asserted in Claim Six.

        2. The Retaliation Claim (Claim Seven)

        Claim Seven alleges violations of the First, Eighth, and Fourteenth Amendments.

 The Court addresses only the alleged First Amendment violation in this section, which it




                                            -45-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 46 of 65




 construes as a First Amendment retaliation claim. 21 Plaintiff alleges that he has been

 retaliated against because of his filing of grievances and this lawsuit. Am. Compl. [#66]

 at 23-29.   The Amended Complaint asserts retaliation both through Code of Penal

 Disciplinary (“COPD”) charges being instituted against him and through other alleged

 retaliatory actions.

        The Court first addresses the retaliation claim in connection with COPD charges.

 Thus, Plaintiff alleges that BCCF Defendants Hestand and Casebolt, who affirmed to

 Plaintiff that they were aware of the lawsuit, refused to allow Plaintiff and other Native

 Americans to go to the faith grounds, even though the COVID-19 restrictions had been

 lifted. Id. Instead, they ordered Plaintiff to go back to his housing unit. Id. When Plaintiff

 refused, disciplinary action was taken by these Defendants as well as BCCF Defendants

 Cox and Archuleta. Further, Plaintiff alleges that he received a COPD charge by BCCF

 Defendants Arrasmith and Dockter for disobeying a lawful order by Hestand and

 Casebolt, despite the fact that Hestand’s and Casebolt’s reports were later found to be

 false. Id. at 24-26. Plaintiff alleges he later overheard a conversation between Arrasmith

 and Dockter as to the retaliation plot against Plaintiff. Nonetheless, Plaintiff’s appeal of

 this charge was denied. Id. at 26-27.

        Plaintiff further alleges at a later time that BCCF Defendant Holland inquired if

 Plaintiff was still pursuing his lawsuit, to which Plaintiff responded affirmatively. 44 days

 later, Plaintiff received a COPD from Holland for which Plaintiff was found guilty by



        21 To the extent Claim Seven asserts an Eighth Amendment or a due process violation,
 these claims are discussed further below.

                                             -46-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 47 of 65




 Defendants Arrasmith and Dockter. Id. at 27. Plaintiff asserts he overheard Arrasmith

 and Dockter saying there was not enough evidence but that they had their “orders”. Id.

 Plaintiff’s appeal of this charge was denied by Carson and Saldana who allegedly

 “conspired” as to this denial, and Plaintiff alleges that the appeal was not reviewed as

 required by policy and state law. Id. at 28. Finally, Plaintiff avers that Arrasmith, Dockter,

 Carson, and Saldana “conspired together to try and give [Plaintiff] additional security

 points so [that he] would be transferred from BCCF[,]” id., which the Court infers is related

 to the COPD charge from Holland and the appeal of that charge Id.

        The BCCF Motion [#79] argues that this portion of Plaintiff’s retaliation claim is

 precluded by Heck v. Humphrey, 512 U.S. 477 (1994), because it directly challenges his

 COPD convictions. The Motion [#79] asserts that any determination by the Court that the

 COPD charges were retaliatory would invalidate those convictions. Id. at 16. The Motion

 [#79] further notes that Plaintiff has admitted that he was found guilty of these convictions

 and that they were affirmed on appeal. Id. (citing Am. Comp. [#66] at 26, 28).

        Turning to the analysis, the Supreme Court in Heck held that a prisoner cannot

 bring a § 1983 claim that would “render invalid” or “necessarily imply the invalidity of” a

 criminal conviction until the conviction has been invalidated. 512 U.S. at 486-87. This

 Heck rule also applies to a claim challenging prison disciplinary proceedings when the

 alleged unconstitutional conduct could support a core habeas claim. Marshall v. Milyard,

 415 F. App’x 850, 854 (2011). “On the other hand, a § 1983 claim remains available if

 ‘success in the action would not necessarily spell immediate or speedier release for the

 prisoner[.]’” Id. (quoting Wilkinson v. Dotson, 544 U.S. 74, 81, 83-84 (2005)).


                                             -47-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 48 of 65




        Plaintiff asserts that he does not challenge or ask the Court to overturn his COPD

 convictions; instead, “the convictions are merely used to establish facts about the

 retaliatory motives of the Defendants.” Resp. BCCF Mot. [#83] at 3. That is not, however,

 the dispositive inquiry. Instead, the Court must determine if this portion of Plaintiff’s

 retaliation claim, if successful, would necessarily invalidate the convictions. Heck, 512

 U.S. at 486-87. The Court finds that it would, and that this portion of the retaliation claim

 must be dismissed without prejudice because it is precluded by Heck. Fottler v. United

 States, 73 F.3d 1064 (10th Cir. 1996). The Tenth Circuit has held that retaliation claims

 involving convictions on charges with sanctions such as a loss of good time credits as

 alleged by Plaintiff (Amended Complaint [#66] at 28, ¶ 218) are precluded by Heck.

 Brown v. Cline, 319 F. App’x 704, 705-06 (10th Cir. 2009) (“Plaintiff's claims that the

 disciplinary reports against him were false and retaliatory and that the . . . hearing was

 conducted improperly are claims that necessarily implicate the validity of the disciplinary

 charges and the sanctions imposed, including the loss of good-time credits” and are

 barred by Heck); see also Johnson v. Little, No. 17-cv-02993-RBJ-NRN, 2019 WL

 630346, at *5 (D. Colo. Feb. 13, 2019); Allmon v. Wiley, No. 08-cv-01183-MSK-CBS,

 2011 WL 4501941, at *8 (D. Colo. Aug. 25, 2011).

        The Court now turns to the remaining portion of Plaintiff’s retaliation claim. Plaintiff

 avers that he was approached by Defendant Salazar and threatened with a COPD charge

 if he continued to file grievances on behalf of the Native American community of BCCF.

 Id. at 23, ¶ 167. There is no allegation that a COPD charge was ever filed. Plaintiff further

 avers that after filing the lawsuit, “Defendants became fully aware that they were being


                                              -48-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 49 of 65




 sued . . . by the responses their counsel began to file in the Court[,]” including motions to

 dismiss. Id. at 23. Plaintiff alleges that Defendants Hestand and Cox then retaliated

 against him by removing Sac and Fox language materials from the Chaplain’s office that

 Plaintiff had paid for and was translating. Id. at 27. Plaintiff also alleges retaliation by

 Defendants Hestand and Carson through their manipulation of the schedule so that

 Plaintiff’s unit could not go to the faith grounds. Id. at 28. Finally, Plaintiff alleges that he

 was told by Defendant Britton that he was no longer allowed to wear his eagle feather

 head wear, even though the restriction on wearing religious head gear without a cap over

 them had been lifted. Id. at 29. The directive from Britton was allegedly ordered by

 Defendant Arrasmith. Id. Britton also allegedly told Plaintiff that if he continued wearing

 the feathers, they would be confiscated. Id. Plaintiff avers that both Britton and Arrasmith

 had seen Plaintiff wearing eagle feathers on multiple occasions but suddenly chose to

 deny him this right as retaliation for filing grievances and a lawsuit.

        Turning to the Court’s analysis, “‘[p]rison officials may not retaliate against or

 harass an inmate because of the inmate's exercise of his constitutional rights.” Peterson

 v. Shanks, 149 F.3d 1140, 1144 (10th Cir. 1998) (quotation omitted). “’This principle

 applies even where the action taken in retaliation would be otherwise permissible.’" Id.

 (quotation omitted). To state a First Amendment claim for retaliation, a plaintiff must

 allege: (1) that he was engaged in constitutionally protected activity; (2) that the actions

 in question caused the individual to suffer an injury “that would chill a person of ordinary

 firmness from continuing to engage in that activity[,]” and (3) that the adverse actions

 were substantially motivated as a response to the individual’s exercise of constitutionally


                                               -49-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 50 of 65




 protected conduct. Shero v. City of Grove, Okla., 510 F.3d 1196, 1203 (10th Cir. 2007).

 In regard to the third element, a plaintiff must allege facts that plausibly support a finding

 that 'but for' the retaliatory motive, the incidents to which he refers would not have taken

 place." Smith v. Maschner, 899 F.2d 940, 949-50 (10th Cir. 1990). In other words, a

 prisoner must "’allege specific facts showing retaliation because of the exercise of the

 prisoner's constitutional rights.’" Peterson, 149 F.3d at 1144 (quoting Frazier v. Dubois,

 922 F.2d 560, 562 n. 1 (10th Cir. 1990)). As this Court noted, “Tenth Circuit cases ‘allow

 an inference’ of whether the defendants' actions were causally connected to the protected

 conduct where the evidence shows ‘(1) the defendants were aware of the protected

 activity; (2) the plaintiff directed his complaint to the defendants' actions; and (3) the

 alleged retaliatory act ‘was in close temporal proximity to the protected activity.’” Handy

 v. Cummings, No. 11-cv-00581-WYD-KMT, 2013 WL 1222415, at *6 (D. Colo. 2013)

 (quotation omitted; see also Gee v. Pacheco, 627 F.3d 1178, 1189 (10th Cir. 2010)).

        The BCCF Motion [#79] asserts that Plaintiff’s claim of retaliation based on the

 events unrelated to the COPD charges is insufficient to state a cognizable claim because

 Plaintiff fails to show that, but for the alleged retaliatory motive of any of the BCCF

 Defendants, he would have been treated differently. Id. at 15. The Motion [#79] argues

 that Plaintiff’s litigation efforts have ranged over a lengthy period, and the timing alone

 belies Plaintiff’s “conclusory and speculative claims of retaliation.” Id.

        The Court finds as to the averments against Defendant Salazar that Plaintiff has

 plausibly alleged that he was (1) engaged in constitutionally protected activity through the

 filing of grievances; and (2) that Salazar’s threat explicitly allows the Court to infer that,


                                             -50-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 51 of 65




 but for the grievances filed in connection with Plaintiff’s Native American faith, the threat

 of charges would not have occurred. The Court also finds that it may plausibly be inferred

 at this stage of the litigation that the threat Plaintiff would be charged with a COPD

 violation if he continued to file grievances in connection with his faith would “chill a person

 of ordinary firmness from continuing to engage in that activity.” See Handy, 2013 WL

 1222415, at *9 (finding that threat to place Plaintiff on a segregation order “may arguably

 be sufficient to chill an inmate of ordinary firmness”). Defendants have not argued to the

 contrary.   Accordingly, the Motions to Dismiss are denied as to the allegations of

 retaliation against Salazar.

        However, as to the allegations against Hestand, Cox, and Carson in regard to

 removing the language materials that Plaintiff had paid for and manipulating the faith

 grounds schedule so that Plaintiff’s unit could not go, the Court finds that these allegations

 are not sufficient to state a retaliation claim. Plaintiff has not alleged facts from which the

 Court can plausibly infer that these activities would not have occurred but for the alleged

 retaliatory motive. For example, there are no allegations that permit the Court to infer a

 causal connection because Plaintiff has not averred that the alleged retaliatory acts were

 in close temporal proximity to the protected activity. Handy, 2013 WL 1222415, at *6.

        Based on the foregoing, the BCCF Motion [#79] is granted in part and denied in

 part as to the retaliation claim. The Motion [#79] is denied as to the allegations against

 Salazar, but granted as to the remainder of the claim. 22 Further, as this is the only claim


         22 The CDOC Motion [#76] addressed this claim only by asserting that there were no
 allegations against the CDOC Defendants. Id. at 13. While this appears to be true, the argument
 need not be addressed because the only remaining Defendant in the claim is a BCCF Defendant.

                                              -51-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 52 of 65




 asserted against BCCF Defendants Casebolt, Arrasmith, Dockter, Saldana, Holland,

 Britton, Cox, and Carson, these Defendants are dismissed from the case.

        3.     The Equal Protection Claims

        As the Court noted in its Order [#55] on the prior Motions to Dismiss, the Equal

 Protection Clause of the Fourteenth Amendment commands that no state shall “deny to

 any person within its jurisdiction the equal protection of the laws.” Id. at 25 (quoting U.S.

 Const. amend. XIV, § 1.) Equal protection “is essentially a direction that all persons

 similarly situated should be treated alike.” City of Cleburne v. Cleburne Living Ctr., 473

 U.S. 432, 439 (1985). To state an equal protection claim, the inmate “must establish that

 others, ‘similarly situated in every material respect’ were treated differently.” Kansas

 Penn Gaming, LLC v. Collins, 656 F.3d 1210, 1216 (10th Cir. 2011) (quotation omitted).

        Plaintiff’s equal protection claims in the initial Complaint [#1] were dismissed

 without prejudice in the Court’s prior Order [#55], as it found that Plaintiff merely alleged

 that his Native American faith was treated differently from Judeo-Christian faiths, or that

 other faiths were treated more favorably. Id. Plaintiff did not aver that other inmates who

 were similarly situated in every respect to Plaintiff were treated differently. Id. The Court

 concluded that “Plaintiff’s conclusory allegations of equal protection violations, without

 any allegations showing that similarly situated inmates were treated differently, are not

 sufficient to state a claim.” Id. at 25-26. The Court is now called upon to determine

 whether the claims as amended by Plaintiff in his Amended Complaint [#66] have cured

 the deficiencies noted as to the equal protection claims in the initial Complaint [#1].




                                             -52-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 53 of 65




        Before addressing the specific claims, the Court first notes that Plaintiff’s equal

 protection claims are incorporated into his claims alleging violations of the First

 Amendment Free Exercise Clause and RLUIPA, and it is not always clear to what extent

 Plaintiff is asserting an equal protection claim. Nonetheless, as best the Court can tell,

 the following represents Plaintiff’s equal protection claims.

               a.     Claim One

        In Claim One, Plaintiff bases his equal protection claim on two things: (1) the

 allegation that Defendants recognize other faiths as individual faiths and do not require

 them to practice other religions, unlike Plaintiff who has been forced to adhere to Lakota

 religious practices because of Defendants’ belief that “all Indians are the same[,]” and (2)

 “other faiths” are allowed to wear religious head and neck wear outside their cells, but he

 is only allowed to do so in his cell or at approved religious gatherings. Am. Compl. [#66]

 at 12, ¶53; 14, ¶ 72. Plaintiff further avers in regard to the neck wear (a choker that

 Plaintiff is allegedly being denied) that AR Form 800-01G provides appropriate neck wear

 for every faith but Native Americans. Id. at ¶ 64.

        The CDOC Motion [#76] asserts as to the equal protection claim in Claim One that

 Plaintiff has failed to allege with any factual specificity that similarly situated individuals

 were treated differently. Id. at 23-24. The Court agrees, and finds that Plaintiff did not

 cure the deficiencies noted in connection with his initial Complaint [#1].

        Thus, the Court finds that Plaintiff has not met his burden to allege specific facts

 that allow the Court to plausibly infer that the faiths (1) which were recognized by the

 facility and were not forced to practice another religion, or (2) were permitted to wear head


                                              -53-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 54 of 65




 and neck wear when Plaintiff was not, were similarly situated in all material aspects to

 Plaintiff’s faith, let alone that they were similarly situated in every material respect. See

 Collins, 656 F.3d at 1220 (finding in case where property owners alleged that they had

 been singled out for enforcement of environmental laws that it was insufficient “to

 simply allege that other, unidentified properties have ‘comparable’ or ‘similar’

 conditions—the claim must be supported by specific facts plausibly suggesting the

 conditions on the properties and the properties themselves are similar in all material

 respects”). Further, as the CDOC Defendants highlight, Plaintiff has failed to allege

 who the individuals of other faiths are who were allowed to wear religious head and neck

 wear, what specifically they were allowed to wear, and how they are similarly situated to

 him; thus, he has not identified any similarly situated individuals for the purposes of his

 equal protection claim. See Rudnick v. Raemisch, No. 16-cv-02071-RM-KLM, 2018 WL

 1084377, at *6 (D. Colo. Feb. 27, 2018) (holding that “[i]n order to state an equal

 protection claim, Plaintiff must allege facts demonstrating that he intentionally was treated

 differently from similarly situated inmates[;]” and [t]he mere fact that they are also inmates

 does not meet the ‘similarly situated’ requirement.”). Plaintiff’s allegations are conclusory

 as to this requirement. Accordingly, the Court finds that the CDOC Motion [#76] should

 be granted as to this issue, and the equal protection portion of Claim One is dismissed.

               b.     Claims Two and Four and Other Equal Protection Claims

        In Claims Two and Four, Plaintiff asserts an equal protection claim related to the

 firewood and herbs he claims to need to practice his religion. See, e.g., Am. Compl. [#66]

 at 16, ¶ 95, 19-20, ¶¶ 127-35. In Claim Two, Plaintiff alleges that Christian groups were

                                             -54-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 55 of 65




 allowed to use electricity for their religious services, and that other faiths were allowed to

 use water for their ceremonies or were provided with meals, facilities, and materials

 required for their faiths. Id. at 16, ¶¶ 92-94, 96. By contrast, as a Native American,

 Plaintiff alleges that he is forced to pay for the materials (firewood and herbs) required for

 the practice of his religion. Id., ¶ 95. Additionally, Plaintiff alleges that federal funds have

 been used to develop other religious and non-religious programs, but no funds have been

 used to promote Native American beliefs, including funding for firewood and herbs

 needed in religious ceremonies. Id. at 16-17; Response [#90] at 24. Plaintiff further

 asserts that “[t]o provide Christian faiths with connections to outside communities and

 then deny Eaves based on the Colorado Constitution which states it can discriminate

 against him as an ‘Indian’” violates the Equal Protection Clause. Response [#90] at 24.

        As to Claim Four, Plaintiff alleges that wood purchased is considered donated, that

 other faiths were allowed to use firewood donated into a common fund, and that on some

 occasions the firewood ran out as a result. Am. Compl. [#66] at 18, ¶¶ 129-131. Plaintiff

 alleges that these other faiths do not have to purchase firewood for their ceremonies;

 instead, the facility forces Plaintiff to purchase the firewood for his ceremonies which

 firewood is then “donated” to other faiths. See Response [#90] at 25.

        Regarding the allegations in Claims Two and Four, the CDOC Motion [#76] argues

 that Plaintiff has only identified inmates that (1) belong to other religions and (2) engage

 in religious practices that require the use of certain materials or particular diets. Id. at 25

 According to the CDOC Defendants, these characteristics do not establish that the

 inmates in these groups (and their faiths) are similarly situated in every material respect


                                              -55-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 56 of 65




 to Plaintiff and the allegations as to his faith. Id. at 25. The Court agrees, and finds for

 the same reasons discussed as to Claim One that Plaintiff has failed to state a plausible

 equal protection claim in Claims Two and Four. Moreover, as the CDOC Defendants

 note, Plaintiff actually alleges in part in Claim Four that he was not treated differently from

 the Asatru, North Western European Paganism, and Wiccan faiths who, like Plaintiff, had

 to use firewood obtained from a common fund. Id. (citing Am. Compl. [#66] at 18, ¶¶ 129-

 131). Consequently, the CDOC Motion [#76] is granted as to the equal protection claims

 in Claims Two and Four. 23

        Finally, to the extent Plaintiff may intend any other claim to assert an equal

 protection claim, the claims also fail for the same reasons.              Accordingly, all equal

 protection claims are dismissed.

        4.      Eighth Amendment Claim

        Plaintiff also purports to state a claim under the Eighth Amendment. See Am.

 Compl. [#66] at 23. The CDOC Motion [#76] argues that this claim should be dismissed

 because Plaintiff pleads no facts in his Amended Complaint that pertain to causes of

 action under the Eighth Amendment. Id. at 26. Plaintiff clarifies that he asserts his Eighth

 Amendment claim only against CC and BCCF employees. Resp. CDOC Mot. [#90] at 28.




          23 Additionally, to the extent Plaintiff alleges in Claim Two that federal funds have been
 used to develop other programs, including non-religious programs such as “Gender, Race, Ability,
 Awareness, Culture and Equity”) (“GRAACE”) and religious programming such as the Christian
 “college” at Limon Correctional facilities, but no funds have been used to promote Native
 American beliefs (Amended Complaint [#66], ¶¶ 96-101), Plaintiff fails to state that the individuals
 who benefit from these programs are similarly situated in all material respects. For instance,
 Plaintiff is not an inmate at Limon, and there is no allegation that these programs exist at BCCF.


                                                -56-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 57 of 65




 Plaintiff does not articulate, however, what facts support his Eighth Amendment claim,

 which specific Defendants were involved in the alleged violations, or how Defendants

 exhibited deliberate indifference in connection with the actions at issue. See, e.g., Barney

 v. Pulsipher, 149 F.3d 1299, 1310 (10th Cir. 1998) (noting that the deliberate indifference

 test requires both an objective test, whereby the alleged deprivation must be sufficiently

 serious, and a subjective test, requiring that the prison official have a sufficiently culpable

 state of mind). Accordingly, to the extent Claim Seven asserts an Eighth Amendment

 claim, the Motions to Dismiss are granted. This claim is dismissed for failure to state a

 claim as well as the failure to allege the personal participation of any Defendants.

        5.      Due Process Claims

        Plaintiff states in his Response [#90] to the CDOC Motion that he raised due

 process claims in Claims One, Two, and Four. Id. at 22. Plaintiff avers that as an Indian,

 he was given greater due process protections by statute. Id. (citing Colo. Rev. Stat. § 17-

 42-102) (recognizing that “serious problems in the practice of religious freedom persist. .

 ., particularly for American Indians who are incarcerated, and stating that inmates must

 be given access to “[i]tems and materials utilized in religious ceremonies”). 24 Plaintiff

 further avers as to Claims Two and Four that he was denied due process by the Faith

 and Citizen Programs in connection with “’maintain[ing] communication with faith

 communities and approv[ing] donations . . . of materials for use” in Plaintiff’s faith, which

 is allegedly required by state statute. Id. at 25. According to Plaintiff, this creates a liberty


        24 Plaintiff’s reference to this statute cannot serve as the predicate for his claims because
 a § 1983 claim cannot be based on a violation of a state statute. Rea, 2010 WL 5575163, at *3-4;
 see also Reply CDOC Mot. [#97] at 10-11.

                                                -57-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 58 of 65




 interest in the materials. Id. Further as to Claim Four, Plaintiff’s Response [#90] refers

 to the “shocks the conscience” standard of a substantive due process claim and alleges

 that the Governor, Williams and Trani “spent a considerable amount of time planning a

 deliberate way for the State to continue its responsibility under the Constitution and statue

 [sic] to develop a policy that would allow it not to provide materials to Eaves, thereby

 denying his ability to adhere to his faith.” Id. at 25-26. According to Plaintiff, he grieved

 the issues related to the deprivation of his due process rights and even wrote to the

 Governor, that Defendants had a realistic period of time to deliberate, and that they chose

 to deny Plaintiff’s rights. Id. at 23, 26.

        As the CDOC Defendants highlight, “nowhere in Claims One, Two, or Four does

 Eaves include any allegations that he was denied a liberty interest or that CDOC

 Defendants’ actions shocked the conscience.” See Reply CDOC Mot. [#97] at 16 (citing

 Am. Compl. [#66] at 7-17, 19-20). Plaintiff also makes no mention of due process. Id.

 While Plaintiff makes a passing reference to the Fourteenth Amendment in Claims Two

 and Seven (id. at 16-17, ¶ 101; 28 ¶ 227), he does not reference due process or the

 elements of such a claim therein, nor does he allege facts explaining how his substantive

 or procedural due process rights were violated.        As such, the Amended Complaint

 contains no plausible due process claims. Moreover, the CDOC Defendants are correct

 that Plaintiff cannot seek to amend his complaint by “alluding to facts that have not been

 alleged, or by suggesting violations that have not been pled.” Truby v. Denham, No. 16-

 cv-02764-CMA-CBS, 2017 WL 8942573, *2 (D Colo. Oct. 16, 2017); see also Jojola v.




                                              -58-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 59 of 65




 Chavez, 55 F.3d 488, 494 (10th Cir. 1995) (holding that a court is limited to assessing the

 legal sufficiency of the allegations contained within the four corners of the complaint).

        Based on the foregoing, the CDOC Motion [#76] is granted as to this issue, and

 any due process claims in the Amended Complaint [#66] are dismissed.

        6.        Plaintiff’s Requests for Declaratory and Injunctive Relief

        Finally, the Court addresses Plaintiff’s requests for injunctive and declaratory relief.

 Plaintiff seeks the following: (1) to allow him to possess personal sacred objects; (2) a

 recognition that beadwork is part of religious expression; (3) to allow him to embellish his

 medicine bag and headband; (4) to allow him to wear religious headwear and neckwear;

 (5) to allow Plaintiff to develop communication with the Native American faith

 communities; (6) to rescind the Colorado Constitution; (7) to allow Plaintiff to spiritually

 cleanse his cell; (8) for Defendants to stop “donating” materials belonging to the Native

 American faith group to other faiths; (9) for Defendants to provide a detailed account

 statement of who has donated and how much to the Native American faith fund for the

 past seven years; (10) for Defendants to provide a detailed account statement of the

 expenditures from the Native American faith fund for the past seven years; (11) for

 Defendants to develop a plan to allow Plaintiff access to the faith grounds at least once a

 week during lockdowns; and (12) to stop the retaliation against Plaintiff. Id. at 31. The

 CDOC Defendants argue that certain of these requests should be dismissed as improper

 or because the CDOC Defendants do not have power to effect the relief. CDOC Mot

 [#76] at 7-10.




                                              -59-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 60 of 65




        Before beginning its analysis, the Court notes that “[a] party seeking… injunctive

 relief must establish a relationship between the injury claimed . . . and the conduct

 asserted in the complaint.” Little v. Jones, 607 F.3d 1245, 1251 (10th Cir. 2010) (internal

 citations omitted; emphasis added); see also Koehn v. Denham, No. 17-CV-00234-KMT,

 2018 WL 10247016, at *1 (D. Colo. Jan. 24, 2018) (denying injunctive relief because the

 request at issue “is not related to constitutional violations alleged in” the complaint). It is

 thus well-settled in the Tenth Circuit that prospective relief “must be narrowly tailored to

 remedy the harm shown.” Garrison v. Baker Hughes Oilfield Ops., Inc., 287 F.3d 955,

 962 (10th Cir. 2002); see also 18 U.S.C. § 3626(a)(1) (stating PLRA requirements to grant

 prospective relief).

        Further, “[d]eclaratory judgment actions must be sustainable under the same

 mootness criteria that apply to any other lawsuit.” Rio Grande Silvery Minnow, 601 F.3d

 at 1109. When applying the mootness doctrine in the context of considering a declaratory

 judgment, there must be a “settling of some dispute which affects the behavior of the

 defendant toward the plaintiff.” Jordan, 654 F.3d at 1025. “That a declaration might guide

 third parties (i.e., those not parties to the lawsuit) in their future interactions with a plaintiff

 is insufficient.” Id. at 1026.

        The CDOC Motion [#76] asserts that several of Plaintiff’s requests fail to meet the

 above requirements. The Motion [#76] points to Plaintiff’s requests for injunctive relief to

 “rescind the Colorado Constitution so it can no longer discriminate against ‘Indians,’” “stop

 the ‘donating’ of materials specifically belonging to the Native American faith group to




                                                -60-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 61 of 65




 other faiths,” and provide a “detailed account statement” of donations to and funds

 expended from the Native American faith fund for the past seven years. Id. at 8.

        The Court grants in part and denies in part the CDOC’s argument as to the

 above requests.       First, the Court agrees that the request to rescind the Colorado

 Constitution so it can no longer discriminate against Indians is overbroad and is not

 narrowly tailored to address the alleged infringements upon Plaintiff’s ability to exercise

 his religion. Moreover, Plaintiff has not alleged or pointed to any authority indicating that

 any of the CDOC Defendants or the Governor have authority to rescind the Colorado

 Constitution.    See Peterson, 707 F.3d at 1206-07 (holding that an official capacity

 defendant must have some responsibility or authority to perform the injunctive relief being

 sought). 25 Accordingly, the CDOC Motion [#76] is granted as to this issue, and the

 request to rescind the Colorado Constitution is dismissed.

        As to the requests for detailed account statements related to the Native American

 faith fund, the Court found previously in Claim Five that Plaintiff has not alleged that either

 obtaining or the failure to obtain such an accounting from Defendants substantially

 burdens his sincerely held religious beliefs or the exercise of his religion under the free

 exercise clause or RULUIPA. Moreover, despite an AR cited by Plaintiff (Response [#90]

 at 8), there is no indication that the Defendants being sued are authorized or have the

 ability to provide such an accounting. See also Reply CDOC Mot. [#97] at 3. The Court

 also agrees with the CDOC Motion [#76] that Plaintiff’s request for a declaration of duties



          25 Plaintiff’s conclusory statement in his Response [#90] that the Governor has the
 authority to rescind the Constitution, id. at 6-7, is not entitled to a presumption of the truth.

                                                 -61-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 62 of 65




 under the First, Eighth, and Fourteenth Amendment to be protected from retaliation for

 asserting his religious rights (id. at 8-9 and n. 4) fails to satisfy the requirement that a

 request be narrowly tailored to the alleged harm. Further, the request may result in a

 retrospective opinion that Plaintiff was wrongfully harmed. See Jordan, 654 F.3d at 1025.

 Finally, the Court finds as to Plaintiffs’ request that Defendants be required to “develop

 communication with the public Native American faith communities so items and materials

 are available for donation to the Native American faith group” (Amended Complaint [#66]

 at 31), that there is no indication that this request would have any practical effect on the

 disputes at issue. See CDOC Mot. [#76] at 9. These requests are also dismissed.

        However, the Court finds that the requests to (1) “stop the ‘donating’ of materials

 specifically belonging to the Native American faith group to other faiths[,]” and (2) to

 “[r]ecognize that beadwork is not a ‘hobby’ for a Native American but is part of religious

 expression[,]” are not overbroad, and appear to be narrowly tailored to Plaintiff’s RLUIPA

 and free exercise claims related to the beads, firewood and herbs. Accordingly, the

 CDOC Motion [#76] is denied to the extent it requests dismissal of these requests.

 E.     Dismissal With or Without Prejudice

        Ordinarily the dismissal of a pro se claim under Rule 12(b)(6) should be without

 prejudice. Gee, 627 F.3d at 1186; Gabriel v. Emergency Med. Specialists, P.C., No. 16-

 cv-00051-RBJ-CBS, 2016 WL 8310097, at *8 n. 13 (D. Colo. Nov. 1, 2016). However,

 dismissal with prejudice is appropriate where it is obvious that the plaintiff cannot prevail

 on the facts he has alleged and it would be futile to give him an opportunity to amend.

 Garcia v. Webster, No. 09-cv-03024-CMA-KLM, 2011 WL 109076, at *1 (D. Colo. Jan.


                                             -62-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 63 of 65




 11, 2011) (citing Oxendine v. Kaplan, 241 F.2d 1272, 1275 (10th Cir. 2001)). Here,

 Plaintiff has already been given the opportunity to amend his complaint, and the Court

 finds it is obvious he cannot prevail on the facts he has alleged as to the claims that were

 dismissed. Accordingly, while some of Plaintiff’s requests for relief or claims that are

 jurisdictional in nature have been dismissed without prejudice, the claims that the Court

 has found should be dismissed on the merits are dismissed with prejudice.

                                      IV. Conclusion.

        Based upon the foregoing,

        IT IS ORDERED that the Motions to Dismiss [#73, #76, #79] are GRANTED IN

 PART AND DENIED IN PART as explained in this Order. Thus,

        IT IS ORDERED that the Motions to Dismiss are granted as to the official capacity

 claims asserted against the Governor and the CDOC Defendants under 42 U.S.C. § 1983

 for monetary damages, and these claims are DISMISSED WITHOUT PREJUDICE. .

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED as to the

 argument that the individual capacity claims against the Defendants under RLUIPA for

 monetary damages are barred, and these claims are DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that the Motions to Dismiss are DENIED as premature

 as to the argument that the official capacity claims under 42 U.S.C. § 1983 against the

 BCCF Defendants should be dismissed.

        IT IS FURTHER ORDERED that the Governor’s Motion [#73] is DENIED as to the

 argument that the Eleventh Amendment bars Plaintiff’s federal constitutional claims for

 equitable relief against the Governor.


                                            -63-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 64 of 65




        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED IN PART

 AND DENIED IN PART as to the mootness argument. The Motions are GRANTED as

 to claims regarding alleged lack of access to the faith grounds during the COVID-19

 restrictions, and such claims are DISMISSED WITHOUT PREJUDICE. The Motions are

 DENIED as to the other mootness arguments.

        IT IS FURTHER ORDERED that the Motions to Dismiss are DENIED as to the

 arguments that Plaintiff’s request for damages for emotional distress are barred under the

 PLRA and that the BCCF Defendants are not necessary parties.

 .      IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED as to

 Plaintiff’s request in his Prayer for Relief for joint and several liability, and this request is

 DISMISSED.

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED IN PART

 AND DENIED as to the First Amendment free exercise and RLUIPA claims. Specifically,

 the Motions are DENIED as to the First Amendment free exercise and RLUIPA claims

 asserted in Claims One, Three, Four, and Six. The Motions to Dismiss are GRANTED

 as to the First Amendment free exercise and RLUIPA claims asserted in Claims Two and

 Five, and these claims are DISMISSED WITH PREJUDICE,

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED as to the

 religious discrimination claims in Claims Two, Four, or any other claim that may allege

 religious discrimination, and these claims are DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED IN PART

 AND DENIED IN PART as to Claim Seven alleging retaliation. Specifically, the Motions


                                               -64-
Case 1:21-cv-01269-KLM Document 106 Filed 03/30/23 USDC Colorado Page 65 of 65




 to Dismiss are DENIED as to the allegations against Defendant Salazar, but GRANTED

 as to all other allegations of retaliation. To the extent the retaliation claim is barred by

 Heck, this portion of Claim Seven is DISMISSED WITHOUT PREJUDICE. The remaining

 portion of Claim Seven subject to dismissal is DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED as to the

 equal protection claims, Eighth Amendment claim, and due process claims, and these

 claims are DISMISSED WITH PREJUDICE.

        IT IS FURTHER ORDERED that the Motions to Dismiss are GRANTED IN PART

 AND DENIED IN PART as to the argument that certain of the injunctive and declaratory

 requests are overbroad or otherwise subject to dismissal. See Section III.D.6, supra.

        IT IS FURTHER ORDERED that Defendants Casebolt, Arrasmith, Dockter,

 Saldana, Holland, Britton, Cox, and Carson are dismissed from the case because there

 are no remaining claims against them.

        Dated: March 29, 2023




                                            -65-
